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                            United States General Accounting Office

GAO                          Report to Congressional Requesters




December 2003
                             PRESCRIPTION
                             DRUGS

                             OxyContin Abuse and
                             Diversion and Efforts
                             to Address the
                             Problem




GAO-04-110
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                                                December 2003


                                                PRESCRIPTION DRUGS

                                                OxyContin Abuse and Diversion and
Highlights of GAO-04-110, a report to           Efforts to Address the Problem
congressional requesters




Amid heightened awareness that                  Purdue conducted an extensive campaign to market and promote OxyContin
many patients with cancer and                   using an expanded sales force to encourage physicians, including primary
other chronic diseases suffer from              care specialists, to prescribe OxyContin not only for cancer pain but also as
undertreated pain, the Food and                 an initial opioid treatment for moderate-to-severe noncancer pain.
Drug Administration (FDA)
                                                OxyContin prescriptions, particularly those for noncancer pain, grew
approved Purdue Pharma’s
controlled-release pain reliever                rapidly, and by 2003 nearly half of all OxyContin prescribers were primary
OxyContin in 1995. Sales grew                   care physicians. The Drug Enforcement Administration (DEA) has
rapidly, and by 2001 OxyContin had              expressed concern that Purdue’s aggressive marketing of OxyContin focused
become the most prescribed brand-               on promoting the drug to treat a wide range of conditions to physicians who
name narcotic medication for                    may not have been adequately trained in pain management. FDA has taken
treating moderate-to-severe pain.               two actions against Purdue for OxyContin advertising violations. Further,
In early 2000, reports began to                 Purdue did not submit an OxyContin promotional video for FDA review
surface about abuse and diversion               upon its initial use in 1998, as required by FDA regulations.
for illicit use of OxyContin, which
contains the opioid oxycodone.                  Several factors may have contributed to the abuse and diversion of
GAO was asked to examine
                                                OxyContin. The active ingredient in OxyContin is twice as potent as
concerns about these issues.
Specifically, GAO reviewed (1) how              morphine, which may have made it an attractive target for misuse. Further,
OxyContin was marketed and                      the original label’s safety warning advising patients not to crush the tablets
promoted, (2) what factors                      because of the possible rapid release of a potentially toxic amount of
contributed to the abuse and                    oxycodone may have inadvertently alerted abusers to methods for abuse.
diversion of OxyContin, and                     Moreover, the significant increase in OxyContin’s availability in the
(3) what actions have been taken to             marketplace may have increased opportunities to obtain the drug illicitly in
address OxyContin abuse and                     some states. Finally, the history of abuse and diversion of prescription
diversion.                                      drugs, including opioids, in some states may have predisposed certain areas
                                                to problems with OxyContin. However, GAO could not assess the
                                                relationship between the increased availability of OxyContin and locations
To improve efforts to prevent or                of abuse and diversion because the data on abuse and diversion are not
identify abuse and diversion of                 reliable, comprehensive, or timely.
controlled substances such as
OxyContin, FDA’s risk                           Federal and state agencies and Purdue have taken actions to address the
management plan guidance should                 abuse and diversion of OxyContin. FDA approved a stronger safety warning
encourage pharmaceutical                        on OxyContin’s label. In addition, FDA and Purdue collaborated on a risk
manufacturers with new drug                     management plan to help detect and prevent OxyContin abuse and diversion,
applications to submit plans that               an approach that was not used at the time OxyContin was approved. FDA
contain a strategy for identifying
potential problems with abuse and
                                                plans to provide guidance to the pharmaceutical industry by September 2004
diversion. FDA concurred with                   on risk management plans, which are an optional feature of new drug
GAO’s recommendation. DEA                       applications. DEA has established a national action plan to prevent abuse
agreed that such risk management                and diversion of OxyContin. State agencies have investigated reports of
plans are important, and Purdue                 abuse and diversion. In addition to developing a risk management plan,
stated that the report appeared to              Purdue has initiated several OxyContin-related educational programs, taken
be fair and balanced.                           disciplinary action against sales representatives who improperly promoted
                                                OxyContin, and referred physicians suspected of improper prescribing
www.gao.gov/cgi-bin/getrpt?GAO-04-110.
                                                practices to the authorities.
To view the full product, including the scope
and methodology, click on the link above.
For more information, contact Marcia Crosse
at (202) 512-7119.
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                        Abbreviations

                        DAWN              Drug Abuse Warning Network
                        DEA               Drug Enforcement Administration
                        FDA               Food and Drug Administration
                        FD&C Act          Federal Food, Drug and Cosmetic Act
                        HHS               Department of Health and Human Services
                        HIDTA             High Intensity Drug Trafficking Area
                        JCAHO             Joint Commission on Accreditation of Healthcare
                                          Organizations
                        NFLIS             National Forensic Laboratory Information System
                        ONDCP             Office of National Drug Control Policy
                        PDUFA             Prescription Drug User Fee Act of 1992
                        PhRMA             Pharmaceutical Research and Manufacturers of America
                        RADARS            Researched Abuse, Diversion, and Addiction-Related
                                          Surveillance
                        SAMHSA            Substance Abuse and Mental Health Services
                                          Administration
                        STRIDE            System to Retrieve Information from Drug Evidence
                        WHO               World Health Organization



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United States General Accounting Office
Washington, DC 20548




                                   December 23, 2003

                                   The Honorable Frank R. Wolf
                                   Chairman
                                   Subcommittee on Commerce, Justice, State, and the Judiciary,
                                    and Related Agencies
                                   Committee on Appropriations
                                   House of Representatives

                                   The Honorable James C. Greenwood
                                   Chairman
                                   Subcommittee on Oversight and Investigations
                                   Committee on Energy and Commerce
                                   House of Representatives

                                   The Honorable Harold Rogers
                                   House of Representatives

                                   Patients with cancer may suffer from fairly constant pain for months or
                                   years. Patients with other diseases or conditions, such as rheumatoid
                                   arthritis, osteoarthritis, chronic back pain, or sickle cell anemia, may also
                                   suffer from pain that lasts for extended periods of time. Since 1986, the
                                   World Health Organization (WHO) and others have reported that the
                                   inadequate treatment of cancer and noncancer pain is a serious public
                                   health concern. To address this concern, efforts have been made to better
                                   educate health care professionals on the need to improve the treatment of
                                   both cancer and noncancer pain, including the appropriate role of
                                   prescription drugs.

                                   Amid the heightened awareness that many people were suffering from
                                   undertreated pain, in 1995 the Food and Drug Administration (FDA)
                                   approved the new drug OxyContin, a controlled-release semisynthetic
                                   opioid analgesic manufactured by Purdue Pharma L.P.,1 for the treatment
                                   of moderate-to-severe pain lasting more than a few days.2 According to


                                   1
                                   OxyContin is an opioid analgesic—a narcotic substance that relieves a person’s pain
                                   without causing the loss of consciousness. Hereafter, we refer to the company as Purdue.
                                   2
                                    As discussed later in this report, FDA approved the revised OxyContin label in July 2001 to
                                   describe the time frame as “when a continuous around-the-clock analgesic is needed for an
                                   extended period of time.”



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                        Purdue, OxyContin provides patients with continuous relief from pain
                        over a 12-hour period, reduces pain fluctuations, requires fewer daily
                        doses to help patients adhere to their prescribed regimen more easily,
                        allows them to sleep through the night, and allows a physician to increase
                        the OxyContin dose for a patient as needed to relieve pain.3 Sales of the
                        drug increased rapidly following its introduction to the marketplace in
                        1996. By 2001, sales had exceeded $1 billion annually, and OxyContin had
                        become the most frequently prescribed brand-name narcotic medication
                        for treating moderate-to-severe pain in the United States.

                        In early 2000, media reports began to surface in several states that
                        OxyContin was being abused—that is, used for nontherapeutic purposes
                        or for purposes other than those for which it was prescribed—and illegally
                        diverted.4 According to FDA and the Drug Enforcement Administration
                        (DEA), the abuse of OxyContin is associated with serious consequences,
                        including addiction, overdose, and death.5 When OxyContin was approved,
                        the federal government classified it as a schedule II controlled substance
                        under the Controlled Substances Act because it has a high potential for
                        abuse and may lead to severe psychological or physical dependence.6 DEA
                        has characterized the pharmacological effects of OxyContin, and its active
                        ingredient oxycodone, as similar to those of heroin. Media reports
                        indicated that abusers were crushing OxyContin tablets and snorting the
                        powder or dissolving it in water and injecting it to defeat the intended
                        controlled-release effect of the drug and attain a “rush” or “high” through


                        3
                         According to FDA, there is no known limit to the amount of oxycodone, the active
                        ingredient in OxyContin, that can be used to treat pain.
                        4
                         Prescription drug diversion can involve such activities as “doctor shopping” by individuals
                        who visit numerous physicians to obtain multiple prescriptions, prescription forgery, and
                        pharmacy theft. Diversion can also involve illegal sales of prescription drugs by physicians,
                        patients, or pharmacists, as well as obtaining controlled substances from Internet
                        pharmacies without a valid prescription.
                        5
                         According to the National Institute on Drug Abuse, addiction is a chronic, relapsing
                        disease, characterized by compulsive drug seeking and use and by neurochemical and
                        molecular changes in the brain, whereas physical dependence is an adaptive physiological
                        state that can occur with regular drug use and results in withdrawal symptoms when drug
                        use is discontinued.
                        6
                         Under the Controlled Substances Act, which was enacted in 1970, drugs are classified as
                        controlled substances and placed into one of five schedules based on their medicinal value,
                        potential for abuse, and safety or dependence liability. Schedule I drugs have no medicinal
                        value; have not been approved by FDA; and along with schedule II drugs, have the highest
                        potential for abuse. Schedule II drugs have the highest potential for abuse of any approved
                        drugs.




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                        the body’s rapid absorption of oxycodone. During a December 2001
                        congressional hearing, witnesses from DEA and other law enforcement
                        officials from Kentucky, Virginia, and West Virginia described the growing
                        problem of abuse and diversion of OxyContin.7 Questions were raised
                        about what factors may have caused the abuse and diversion, including
                        whether Purdue’s efforts to market the drug may have contributed to the
                        problem. In February 2002, another congressional hearing was conducted
                        on federal, state, and local efforts to decrease the abuse and diversion of
                        OxyContin.8

                        Because of your concerns about these issues, you asked us to examine the
                        marketing and promotion of OxyContin and its abuse and diversion.
                        Specifically, we addressed the following questions:

                        1. How has Purdue marketed and promoted OxyContin?

                        2. What factors contributed to the abuse and diversion of OxyContin?

                        3. What actions have been taken to address OxyContin abuse and
                           diversion?

                        To identify how Purdue marketed and promoted OxyContin, we
                        interviewed Purdue officials and analyzed company documents and data.
                        We also interviewed selected Purdue sales representatives who were high
                        and midrange sales performers during 2001 and physicians who were
                        among the highest prescribers of OxyContin. To determine how Purdue’s
                        marketing and promotion of OxyContin compared to that of other drugs,
                        we examined the promotional materials and information related to FDA
                        actions and interviewed officials from companies that manufacture and
                        market three other opioid drugs, Avinza, Kadian, and Oramorph SR, that
                        like OxyContin are classified as schedule II controlled substances.9
                        Because of their concern about the proprietary nature of the information,


                        7
                         OxyContin, Hearings of the Subcommittee on the Departments of Commerce, Justice, and
                        State, the Judiciary, and Related Agencies, House Committee on Appropriations, 107th
                        Cong. Part 10 (Dec. 11, 2001).
                        8
                        OxyContin: Balancing Risks and Benefits, Hearing of the Senate Committee on Health,
                        Education, Labor, and Pensions, 107th Cong. 287 (Feb. 12, 2002).
                        9
                         Avinza was approved by FDA in 2002 and is marketed by Ligand Pharmaceuticals; Kadian
                        was approved in 1996 and is marketed by Alpharma-US Human Pharmaceuticals; and
                        Oramorph SR was approved in 1991 and is now owned by Élan Corporation, which told us
                        it is not currently marketing the drug.




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                            the three companies that market these drugs did not provide us with the
                            same level of detail about the marketing and promotion of their drugs as
                            did Purdue. We also examined data from DEA on promotional
                            expenditures for OxyContin and two other schedule II controlled
                            substances. To examine what factors may have contributed to the abuse
                            and diversion of OxyContin, we interviewed officials from DEA, FDA, and
                            Purdue and physicians who prescribe OxyContin. We also analyzed IMS
                            Health data on sales of OxyContin nationwide and Purdue’s distribution of
                            sales representatives, as part of an effort to compare the areas with large
                            sales growth and more sales representatives per capita with the areas
                            where abuse and diversion problems were identified. However, limitations
                            on the abuse and diversion data prevented an assessment of the
                            relationship between the availability of OxyContin and areas where the
                            drug was abused or diverted. To determine what actions have been taken
                            to address OxyContin abuse and diversion, we interviewed FDA officials
                            and examined FDA information regarding the drug’s approval and
                            marketing and promotion. We also interviewed DEA officials and
                            examined how DEA determined the prevalence of OxyContin abuse and
                            diversion nationally. In addition, we examined state efforts to identify
                            those involved in the abuse and diversion of OxyContin. We also reviewed
                            actions taken by Purdue to address this problem. (See app. I for a detailed
                            discussion of our methodology.)

                            We performed our work from August 2002 through October 2003, in
                            accordance with generally accepted government auditing standards.


                            Purdue conducted an extensive campaign to market and promote
Results in Brief            OxyContin using an expanded sales force and multiple promotional
                            approaches to encourage physicians, including primary care specialists, to
                            prescribe OxyContin as an initial opioid treatment for noncancer pain.
                            OxyContin sales and prescriptions grew rapidly following its market
                            introduction in 1996, with the growth in prescriptions for noncancer pain
                            outpacing the growth in prescriptions for cancer pain from 1997 through
                            2002. By 2003, nearly half of all OxyContin prescribers were primary care
                            physicians. DEA has expressed concern that Purdue’s aggressive
                            marketing of OxyContin focused on promoting the drug to treat a wide
                            range of conditions to physicians who may not have been adequately
                            trained in pain management. Purdue has been cited twice by FDA for using
                            potentially false or misleading medical journal advertisements for
                            OxyContin that violated the Federal Food, Drug and Cosmetic Act (FD&C
                            Act), including one advertisement that failed to include warnings about the
                            potentially fatal risks associated with OxyContin use. Further, Purdue did


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                        not submit an OxyContin promotional video for FDA review at the time of
                        its initial distribution in 1998, as required by FDA regulations. Therefore,
                        FDA did not have the opportunity to review the video at the time of its
                        distribution to ensure that the information it contained was truthful,
                        balanced, and accurately communicated. FDA reviewed a similar video in
                        2002 and told us that the video appeared to have made unsubstantiated
                        claims about OxyContin and minimized its risks.

                        Several factors may have contributed to OxyContin’s abuse and diversion.
                        OxyContin’s controlled-release formulation, which made the drug
                        beneficial for the relief of moderate-to-severe pain over an extended
                        period of time, enabled the drug to contain more of the active ingredient
                        oxycodone than other, non-controlled-release oxycodone-containing
                        drugs. This feature may have made OxyContin an attractive target for
                        abuse and diversion, according to DEA. OxyContin’s controlled-release
                        formulation, which delayed the drug’s absorption, also led FDA to include
                        language in the original label stating that OxyContin had a lower potential
                        for abuse than other oxycodone products. FDA officials thought that the
                        controlled-release feature would make the drug less attractive to abusers.
                        However, FDA did not recognize that the drug could be dissolved in water
                        and injected, which disrupted the controlled-release characteristics and
                        created an immediate rush or high, thereby increasing the potential for
                        abuse. In addition, the safety warning on the label that advised patients
                        not to crush the tablets because a rapid release of a potentially toxic
                        amount of the drug could result—a customary precaution for controlled-
                        release medications—may have inadvertently alerted abusers to a possible
                        method for misusing the drug. The rapid growth in OxyContin sales, which
                        increased the drug’s availability in the marketplace, may have made it
                        easier for abusers to obtain the drug for illicit purposes. Further, some
                        geographic areas have been shown to have a history of prescription drug
                        abuse and diversion that may have predisposed some states to the abuse
                        and diversion of OxyContin. However, we could not assess the
                        relationship between the increased availability of OxyContin and locations
                        where it is being abused and diverted because the data on abuse and
                        diversion are not reliable, comprehensive, or timely.

                        Since 2000, federal and state agencies and Purdue have taken several
                        actions to try to address abuse and diversion of OxyContin. In July 2001,
                        FDA approved a revised OxyContin label adding the highest level of safety
                        warning that FDA can place on an approved drug product. The agency also
                        collaborated with Purdue to develop and implement a risk management
                        plan to help detect and prevent abuse and diversion of OxyContin. Risk
                        management plans were not used at the time OxyContin was approved.


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                        The plans are an optional feature of new drug applications that are
                        intended to decrease product risks by using one or more interventions or
                        tools beyond the approved product labeling. FDA plans to provide
                        guidance on risk management plans to the pharmaceutical industry by
                        September 2004. Also at the federal level, DEA initiated 257 OxyContin-
                        related abuse and diversion cases in fiscal years 2001 and 2002, which
                        resulted in 302 arrests and about $1 million in fines. At the state level,
                        Medicaid fraud control units have investigated OxyContin abuse and
                        diversion; however, they do not maintain precise data on the number of
                        investigations and enforcement actions completed. Similarly, state medical
                        licensure boards have investigated complaints about physicians who were
                        suspected of abuse and diversion of controlled substances, but they could
                        not provide data on the number of investigations involving OxyContin.
                        Purdue has initiated education programs and other activities for
                        physicians, pharmacists, and the public to address OxyContin abuse and
                        diversion. Purdue has also taken disciplinary action against its sales
                        representatives who improperly promoted OxyContin and has referred
                        physicians who were suspected of misprescribing OxyContin to the
                        appropriate authorities. Although Purdue has used very specific
                        information on physician prescribing practices to market and promote
                        OxyContin since its approval, it was not until October 2002 that Purdue
                        began to use this information and other indicators to identify patterns of
                        prescribing that could point to possible improper sales representative
                        promotion or physician abuse and diversion of OxyContin.

                        To improve efforts to prevent or identify the abuse and diversion of
                        schedule II controlled substances such as oxycodone, we recommend that
                        FDA’s risk management plan guidance encourage the pharmaceutical
                        manufacturers that submit new drug applications for these substances to
                        include plans that contain a strategy for monitoring the use of these drugs
                        and identifying potential abuse and diversion problems.

                        We received comments on a draft of this report from FDA, DEA, and
                        Purdue. FDA agreed with our recommendation that risk management
                        plans for schedule II controlled substances contain a strategy for
                        monitoring and identifying potential abuse and diversion problems. DEA
                        reiterated its statement that Purdue’s aggressive marketing of OxyContin
                        exacerbated the abuse and diversion problems and noted that it is
                        essential that risk management plans be put in place prior to the
                        introduction of controlled substances into the marketplace. Purdue said
                        the report appeared to be fair and balanced, but that we should add the
                        media as one of the factors contributing to abuse and diversion problems



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                             with OxyContin. We incorporated their technical comments where
                             appropriate.


                             Ensuring that pharmaceuticals are available for those with legitimate
Background                   medical need while combating the abuse and diversion of prescription
                             drugs involves the efforts of both federal and state government agencies.
                             Under the FD&C Act, FDA is responsible for ensuring that drugs are safe
                             and effective before they are available in the marketplace. The Controlled
                             Substances Act,10 which is administered by DEA, provides the legal
                             framework for the federal government’s oversight of the manufacture and
                             wholesale distribution of controlled substances, that is, drugs and other
                             chemicals that have a potential for abuse. The states address certain issues
                             involving controlled substances through their own controlled substances
                             acts and their regulation of the practice of medicine and pharmacy. In
                             response to concerns about the influence of pharmaceutical marketing
                             and promotional activities on physician prescribing practices, both the
                             pharmaceutical industry and the Department of Health and Human
                             Services’s (HHS) Office of Inspector General have issued voluntary
                             guidelines on appropriate marketing and promotion of prescription drugs.


Medical Treatment of Pain    As the incidence and prevalence of painful diseases have grown along with
                             the aging of the population, there has been a growing acknowledgment of
                             the importance of providing effective pain relief. Pain can be characterized
                             in terms of intensity—mild to severe—and duration—acute (sudden onset)
                             or chronic (long term). The appropriate medical treatment varies
                             according to these two dimensions.

                             In 1986, WHO determined that cancer pain could be relieved in most if not
                             all patients, and it encouraged physicians to prescribe opioid analgesics.
                             WHO developed a three-step analgesic ladder as a practice guideline to
                             provide a sequential use of different drugs for cancer pain management.
                             For the first pain step, treatment with nonopioid analgesics, such as
                             aspirin or ibuprofen, is recommended. If pain is not relieved, then an
                             opioid such as codeine should be used for mild-to-moderate pain as the
                             second step. For the third step—moderate-to-severe pain—opioids such as
                             morphine should be used.



                             10
                              Title II of the Comprehensive Drug Abuse Prevention and Control Act of 1970 (Pub. L. No.
                             91-513, §§100 et seq., 84 Stat. 1236, 1242 et seq.).




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                            Beginning in the mid-1990s, various national pain-related organizations
                            issued pain treatment and management guidelines, which included the use
                            of opioid analgesics in treating both cancer and noncancer pain. In 1995,
                            the American Pain Society recommended that pain should be treated as
                            the fifth vital sign11 to ensure that it would become common practice for
                            health care providers to ask about pain when conducting patient
                            evaluations. The practice guidelines issued by the Agency for Health Care
                            Policy and Research provided physicians and other health care
                            professionals with information on the management of acute pain in 1992
                            and cancer pain in 1994, respectively.12 Health care providers and hospitals
                            were further required to ensure that their patients received appropriate
                            pain treatment when the Joint Commission on Accreditation of Healthcare
                            Organizations (JCAHO), a national health care facility standards-setting
                            and accrediting body, implemented its pain standards for hospital
                            accreditation in 2001.


OxyContin                   OxyContin, a schedule II drug manufactured by Purdue Pharma L.P., was
                            approved by FDA in 1995 for the treatment of moderate-to-severe pain
                            lasting more than a few days, as indicated in the original label.13 OxyContin
                            followed Purdue’s older product, MS Contin, a morphine-based product
                            that was approved in 1984 for a similar intensity and duration of pain and
                            during its early years of marketing was promoted for the treatment of
                            cancer pain. The active ingredient in OxyContin tablets is oxycodone, a
                            compound that is similar to morphine and is also found in oxycodone-
                            combination pain relief drugs such as Percocet, Percodan, and Tylox.
                            Because of its controlled-release property, OxyContin contains more
                            active ingredient and needs to be taken less often (twice a day) than these




                            11
                              The other four vital signs physicians use to assess patients are pulse, blood pressure, core
                            temperature, and respiration.
                            12
                              In 1999, the name of the Agency for Health Care Policy and Research was changed to the
                            Agency for Healthcare Research and Quality. The agency, which is part of HHS, is
                            responsible for supporting research designed to improve the quality of health care, reduce
                            its costs, and broaden access to essential services.
                            13
                             When we refer to OxyContin’s label we are also referring to the drug’s package insert that
                            contains the same information about the product.




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                        other oxycodone-containing drugs.14 The OxyContin label originally
                        approved by FDA indicated that the controlled-release characteristics of
                        OxyContin were believed to reduce its potential for abuse. The label also
                        contained a warning that OxyContin tablets were to be swallowed whole,
                        and were not to be broken, chewed, or crushed because this could lead to
                        the rapid release and absorption of a potentially toxic dose of oxycodone.
                        Such a safety warning is customary for schedule II controlled-release
                        medications. FDA first approved the marketing and use of OxyContin in
                        10-, 20-, and 40-milligram controlled-release tablets. FDA later approved
                        80- and 160-milligram controlled-release tablets for use by patients who
                        were already taking opioids.15 In July 2001, FDA approved the revised label
                        to state that the drug is approved for the treatment of moderate-to-severe
                        pain in patients who require “a continuous around-the-clock analgesic for
                        an extended period of time.” (See app. II for a summary of the changes
                        that were made by FDA to the original OxyContin label.)

                        OxyContin sales and prescriptions grew rapidly following its market
                        introduction in 1996. Fortuitous timing may have contributed to this
                        growth, as the launching of the drug occurred during the national focus on
                        the inadequacy of patient pain treatment and management. In 1997,
                        OxyContin’s sales and prescriptions began increasing significantly, and
                        they continued to increase through 2002. In both 2001 and 2002,
                        OxyContin’s sales exceeded $1 billion, and prescriptions were over 7
                        million. The drug became Purdue’s main product, accounting for 90
                        percent of the company’s total prescription sales by 2001.

                        Media reports of OxyContin abuse and diversion began to surface in 2000.
                        These reports first appeared in rural areas of some states, generally in the
                        Appalachian region, and continued to spread to other rural areas and
                        larger cities in several states. Rural communities in Maine, Kentucky, Ohio,
                        Pennsylvania, Virginia, and West Virginia were reportedly being devastated
                        by the abuse and diversion of OxyContin. For example, media reports told
                        of persons and communities that had been adversely affected by the rise of
                        addiction and deaths related to OxyContin. One report noted that drug


                        14
                         For example, according to Purdue’s comparable dose guide a patient taking one Percodan
                        4.5-milligram tablet or one Tylox 5-milligram tablet every 6 hours can be converted to
                        either a 10- or a 20-milligram OxyContin tablet to be taken every 12 hours. For a 12-hour
                        dosing period, one OxyContin tablet replaces two Percodan or Tylox tablets, and one
                        OxyContin tablet contains twice as much oxycodone as one of the other tablets.
                        15
                         In April 2001, Purdue discontinued distribution of the 160-milligram tablets because of
                        OxyContin abuse and diversion concerns.




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                        treatment centers and emergency rooms in a particular area were
                        receiving new patients who were addicted to OxyContin as early as 1999.
                        Pain patients, teens, and recreational drug users who had abused
                        OxyContin reportedly entered drug treatment centers sweating and
                        vomiting from withdrawal. In West Virginia, as many as one-half of the
                        approximately 300 patients admitted to a drug treatment clinic in 2000
                        were treated for OxyContin addiction. The media also reported on deaths
                        due to OxyContin. For example, a newspaper’s investigation of autopsy
                        reports involving oxycodone-related deaths found that OxyContin had
                        been involved in over 200 overdose deaths in Florida since 2000.16 In
                        another case, a forensic toxicologist commented that he had reviewed a
                        number of fatal overdose cases in which individuals took a large dose of
                        OxyContin, in combination with alcohol or other drugs.

                        After learning about the initial reports of abuse and diversion of
                        OxyContin in Maine in 2000, Purdue formed a response team made up of
                        its top executives and physicians to initiate meetings with federal and
                        state officials in Maine to gain an understanding of the scope of the
                        problem and to devise strategies for preventing abuse and diversion. After
                        these meetings, Purdue distributed brochures to health care professionals
                        that described several steps that could be taken to prevent prescription
                        drug abuse and diversion. In response to the abuse and diversion reports,
                        DEA analyzed data collected from medical examiner autopsy reports and
                        crime scene investigation reports. The most recent data available from
                        DEA show that as of February 2002, the agency had verified 146 deaths
                        nationally involving OxyContin in 2000 and 2001.

                        According to Purdue, as of early October 2003, over 300 lawsuits
                        concerning OxyContin were pending against Purdue, and 50 additional
                        lawsuits had been dismissed. The cases involve many allegations,
                        including, for example, that Purdue used improper sales tactics and
                        overpromoted OxyContin causing the drug to be inappropriately
                        prescribed by physicians, and that Purdue took inadequate actions to
                        prevent addiction, abuse, and diversion of the drug. The lawsuits have
                        been brought in 25 states and the District of Columbia in both federal and
                        state courts.




                        16
                         Doris Bloodsworth, “Pain Pill Leaves Death Trail: A Nine-Month Investigation Raises
                        Many Questions about Purdue Pharma’s Powerful Drug OxyContin,” Orlando Sentinel,
                        Oct. 19, 2003.




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Controlled Substances Act    The Controlled Substances Act established a classification structure for
                             drugs and chemicals used in the manufacture of drugs that are designated
                             as controlled substances.17 Controlled substances are classified by DEA
                             into five schedules on the basis of their medicinal value, potential for
                             abuse, and safety or dependence liability. Schedule I drugs—including
                             heroin, marijuana, and LSD—have a high potential for abuse and no
                             currently accepted medical use. Schedule II drugs—which include opioids
                             such as morphine and oxycodone, the primary ingredient in OxyContin—
                             have a high potential for abuse among drugs with an accepted medical use
                             and may lead to severe psychological or physical dependence. Drugs on
                             schedules III through V have medical uses and successively lower
                             potentials for abuse and dependence. Schedule III drugs include anabolic
                             steroids, codeine, hydrocodone in combination with aspirin or
                             acetaminophen, and some barbiturates. Schedule IV contains such drugs
                             as the antianxiety drugs diazepam (Valium) and alprazolam (Xanax).
                             Schedule V includes preparations such as cough syrups with codeine. All
                             scheduled drugs except those in schedule I are legally available to the
                             public with a prescription.18


FDA’s Regulation of          Under the FD&C Act and implementing regulations, FDA is responsible for
Prescription Drugs           ensuring that all new drugs are safe and effective. FDA reviews scientific
                             and clinical data to decide whether to approve drugs based on their
                             intended use, effectiveness, and the risks and benefits for the intended
                             population, and also monitors drugs for continued safety after they are in
                             use.

                             FDA also regulates the advertising and promotion of prescription drugs
                             under the FD&C Act. FDA carries out this responsibility by ensuring that
                             prescription drug advertising and promotion is truthful, balanced, and
                             accurately communicated.19 The FD&C Act makes no distinction between


                             17
                                  Section 201, classified to 21 U.S.C. § 811.
                             18
                              Some schedule V drugs that contain limited quantities of certain narcotic and stimulant
                             drugs are available over the counter, without a prescription.
                             19
                              FDA regulations require that promotional labeling and advertisements be submitted to
                             FDA at the time of initial dissemination (for labeling) and initial publication (for
                             advertisements). The FD&C Act defines labeling to include all labels and other written,
                             printed, or graphic matter accompanying an article. For example, promotional materials
                             commonly shown or given to physicians, such as sales aids and branded promotional items,
                             are regulated as promotional labeling. FDA may also regulate promotion by sales
                             representatives on computer programs, through fax machines, or on electronic bulletin
                             boards.



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                        controlled substances and other prescription drugs in the oversight of
                        promotional activities. FDA told us that the agency takes a risk-based
                        approach to enforcement, whereby drugs with more serious risks, such as
                        opioids, are given closer scrutiny in monitoring promotional messages and
                        activities, but the agency has no specific guidance or policy on this
                        approach. The FD&C Act and its implementing regulations require that all
                        promotional materials for prescription drugs be submitted to FDA at the
                        time the materials are first disseminated or used, but it generally is not
                        required that these materials be approved by FDA before their use. As a
                        result, FDA’s actions to address violations occur after the materials have
                        already appeared in public. In fiscal year 2002, FDA had 39 staff positions
                        dedicated to oversight of drug advertising and promotion of all
                        pharmaceuticals distributed in the United States. According to FDA, most
                        of the staff focuses on the oversight of promotional communications to
                        physicians. FDA officials told us that in 2001 it received approximately
                        34,000 pieces of promotional material, including consumer advertisements
                        and promotions to physicians, and received and reviewed 230 complaints
                        about allegedly misleading advertisements, including materials directed at
                        health professionals.20

                        FDA issues two types of letters to address violations of the FD&C Act:
                        untitled letters and warning letters. Untitled letters are issued for
                        violations such as overstating the effectiveness of the drug, suggesting a
                        broader range of indicated uses than the drug has been approved for, and
                        making misleading claims because of inadequate context or lack of
                        balanced information. Warning letters are issued for more serious
                        violations, such as those involving safety or health risks, or for continued
                        violations of the act. Warning letters generally advise a pharmaceutical
                        manufacturer that FDA may take further enforcement actions, such as
                        seeking judicial remediation, without notifying the company and may ask
                        the manufacturer to conduct a new advertising campaign to correct
                        inaccurate impressions left by the advertisements.

                        Under the Controlled Substances Act, FDA notifies DEA if FDA is
                        reviewing a new drug application for a drug that has a stimulant,
                        depressant, or hallucinogenic effect on the central nervous system and has
                        abuse potential. FDA performs a medical and scientific assessment as



                        20
                         For details on FDA’s oversight of drug advertising see U.S. General Accounting Office,
                        Prescription Drugs: FDA Oversight of Direct-to-Consumer Advertising Has Limitations,
                        GAO-03-177 (Washington, D.C.: Oct. 28, 2002).




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                             required by the Controlled Substances Act, and recommends to DEA an
                             initial schedule level to be assigned to a new controlled substance.

                             FDA plans to provide guidance to the pharmaceutical industry on the
                             development, implementation, and evaluation of risk management plans as
                             a result of the reauthorization of the Prescription Drug User Fee Act of
                             1992 (PDUFA).21 FDA expects to issue this guidance by September 30,
                             2004. FDA defines a risk management program as a strategic safety
                             program that is designed to decrease product risks by using one or more
                             interventions or tools beyond the approved product labeling. Interventions
                             used in risk management plans may include postmarketing surveillance,
                             education and outreach programs to health professionals or consumers,
                             informed consent agreements for patients, limitations on the supply or
                             refills of products, and restrictions on individuals who may prescribe and
                             dispense drug products. All drug manufacturers have the option to develop
                             and submit risk management plans to FDA as part of their new drug
                             applications.


DEA’s Regulation of          DEA is the primary federal agency responsible for enforcing the
Controlled Substances        Controlled Substances Act. DEA has the authority to regulate transactions
                             involving the sale and distribution of controlled substances at the
                             manufacturer and wholesale distributor levels. DEA registers legitimate
                             handlers of controlled substances—including manufacturers, distributors,
                             hospitals, pharmacies, practitioners, and researchers—who must comply
                             with regulations relating to drug security and accountability through the
                             maintenance of inventories and records. All registrants, including
                             pharmacies, are required to maintain records of controlled substances that
                             have been manufactured, purchased, and sold. Manufacturers and
                             distributors are also required to report their annual inventories of
                             controlled substances to DEA. The data provided to DEA are available for
                             use in monitoring the distribution of controlled substances throughout the
                             United States and identifying retail-level registrants that received unusual
                             quantities of controlled substances. DEA regulations for schedule II
                             prescription drugs, unlike those for other prescription drugs, require that
                             each prescription must be written and signed by the physician and may
                             not be telephoned in to the pharmacy except in an emergency. Also, a


                             21
                              The Prescription Drug User Fee Act of 1992, Pub. L. No. 102-571, title I, 106 Stat. 4491, was
                             reauthorized by the Food and Drug Modernization Act of 1997, Pub. L. No. 105-115, 111
                             Stat. 2296, and, most recently, by the Prescription Drug User Fee Amendments of 2002,
                             Pub. L. No. 107-188, title V, subtitle A, 116 Stat. 594, 687.




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                             prescription for a schedule II drug may not be refilled. A physician is
                             required to provide a new prescription each time a patient obtains more of
                             the drug. DEA also sets limits on the quantity of schedule II controlled
                             substances that may be produced in the United States in any given year.
                             Specifically, DEA sets aggregate production quotas that limit the
                             production of bulk raw materials used in the manufacture of controlled
                             substances. DEA determines these quotas based on a variety of data
                             including sales, production, inventories, and exports. Individual
                             companies must apply to DEA for manufacturing or procurement quotas
                             for specific pharmaceutical products. For example, Purdue has a
                             procurement quota for oxycodone, the principle ingredient in OxyContin,
                             that allows the company to purchase specified quantities of oxycodone
                             from bulk manufacturers.


States’ Regulation of the    State laws govern the prescribing and dispensing of prescription drugs by
Practice of Medicine and     licensed health care professionals. Each state requires that physicians
Pharmacy and Role in         practicing in the state be licensed, and state medical practice laws
                             generally outline standards for the practice of medicine and delegate the
Monitoring Illegal Use and   responsibility of regulating physicians to state medical boards. States also
Diversion of Prescription    require pharmacists and pharmacies to be licensed. The regulation of the
Drugs                        practice of pharmacy is based on state pharmacy practice acts and
                             regulations enforced by the state boards of pharmacy. According to the
                             National Association of Boards of Pharmacy, all state pharmacy laws
                             require that records of prescription drugs dispensed to patients be
                             maintained and that state pharmacy boards have access to the prescription
                             records. State regulatory boards face new challenges with the advent of
                             Internet pharmacies, because they enable pharmacies and physicians to
                             anonymously reach across state borders to prescribe, sell, and dispense
                             prescription drugs without complying with state requirements.22 In some
                             cases, consumers can purchase prescription drugs, including controlled
                             substances, such as OxyContin, from Internet pharmacies without a valid
                             prescription.




                             22
                              For more details on Internet pharmacies, see U.S. General Accounting Office, Internet
                             Pharmacies: Adding Disclosure Requirements Would Aid State and Federal Oversight,
                             GAO-01-69 (Washington, D.C.: Oct. 19, 2000).




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                             In addition to these regulatory boards, 15 states operate prescription drug
                             monitoring programs as a means to control the illegal diversion of
                             prescription drugs that are controlled substances. Prescription drug
                             monitoring programs are designed to facilitate the collection, analysis, and
                             reporting of information on the prescribing, dispensing, and use of
                             controlled substances within a state. They provide data and analysis to
                             state law enforcement and regulatory agencies to assist in identifying and
                             investigating activities potentially related to the illegal prescribing,
                             dispensing, and procuring of controlled substances. For example,
                             physicians in Kentucky can use the program to check a patient’s
                             prescription drug history to determine if the individual may be “doctor
                             shopping” to seek multiple controlled substance prescriptions. An
                             overriding goal of prescription drug monitoring programs is to support
                             both the state laws ensuring access to appropriate pharmaceutical care by
                             citizens and the state laws deterring diversion. As we have reported, state
                             prescription drug monitoring programs offer state regulators an efficient
                             means of detecting and deterring illegal diversion. However, few states
                             proactively analyze prescription data to identify individuals, physicians, or
                             pharmacies that have unusual use, prescribing, or dispensing patterns that
                             may suggest potential drug diversion or abuse. Although three states can
                             respond to requests for information within 3 to 4 hours, providing
                             information on suspected illegal prescribing, dispensing, or doctor
                             shopping at the time a prescription is written or sold would require states
                             to improve computer capabilities. In addition, state prescription drug
                             monitoring programs may require additional legal authority to analyze data
                             proactively.23


Guidelines for Marketing     At the time that OxyContin was first marketed, there were no industry or
Drugs to Health Care         federal guidelines for the promotion of prescription drugs. Voluntary
Professionals                guidelines regarding how drug companies should market and promote
                             their drugs to health care professionals were issued in July 2002 by the
                             Pharmaceutical Research and Manufacturers of America (PhRMA). In
                             April 2003, HHS’s Office of Inspector General issued voluntary guidelines
                             for how drug companies should market and promote their products to
                             federal health care programs. Neither set of guidelines distinguishes
                             between controlled and noncontrolled substances.



                             23
                              For more details on these programs, see U.S. General Accounting Office, Prescription
                             Drugs: State Monitoring Programs Provide Useful Tool to Reduce Diversion, GAO-02-634
                             (Washington, D.C.: May 17, 2002).




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                           PhRMA’s voluntary code of conduct for sales representatives states that
                           interactions with health care professionals should be to inform these
                           professionals about products, to provide scientific and educational
                           information, and to support medical research and education.24 The
                           question-and-answer section of the code addresses companies’ use of
                           branded promotional items, stating, for example, that golf balls and sports
                           bags should not be distributed because they are not primarily for the
                           benefit of patients, but that speaker training programs held at golf resorts
                           may be acceptable if participants are receiving extensive training. Purdue
                           adopted the code.

                           In April 2003, HHS’s Office of Inspector General issued final voluntary
                           guidance for drug companies’ interactions with health care professionals
                           in connection with federal health care programs, including Medicare and
                           Medicaid. Among the guidelines were cautions for companies against
                           offering inappropriate travel, meals, and gifts to influence the prescribing
                           of drugs; making excessive payments to physicians for consulting and
                           research services; and paying physicians to switch their patients from
                           competitors’ drugs.


                           Purdue conducted an extensive campaign to market and promote
Purdue Conducted an        OxyContin that focused on encouraging physicians, including those in
Extensive Campaign         primary care specialties, to prescribe the drug for noncancer as well as
                           cancer pain. To implement its OxyContin campaign, Purdue significantly
to Market and              increased its sales force and used multiple promotional approaches.
Promote OxyContin          OxyContin sales and prescriptions grew rapidly following its market
                           introduction, with the growth in prescriptions for noncancer pain
                           outpacing the growth in prescriptions for cancer pain. DEA has expressed
                           concern that Purdue marketed OxyContin for a wide variety of conditions
                           to physicians who may not have been adequately trained in pain
                           management. Purdue has been cited twice by FDA for OxyContin
                           advertisements in medical journals that violated the FD&C Act. FDA has
                           also taken similar actions against manufacturers of two of the three
                           comparable schedule II controlled substances we examined, to ensure that


                           24
                             In addition, the American Medical Association, a professional association for physicians,
                           issued guidelines in 1990 regarding gifts given to physicians by drug industry
                           representatives. For example, physicians may accept individual gifts of nominal value that
                           are related to their work, such as notepads and pens, and may attend conferences
                           sponsored by drug companies that are educational and for which appropriate disclosure of
                           financial support or conflicts of interest is made.




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                            their marketing and promotion were truthful, balanced, and accurately
                            communicated. In addition, Purdue provided two promotional videos to
                            physicians that, according to FDA appear to have made unsubstantiated
                            claims and minimized the risks of OxyContin. The first video was available
                            for about 3 years without being submitted to FDA for review.


Purdue Focused on           From the outset of the OxyContin marketing campaign, Purdue promoted
Promoting OxyContin for     the drug to physicians for noncancer pain conditions that can be caused
Treatment of Noncancer      by arthritis, injuries, and chronic diseases, in addition to cancer pain.
                            Purdue directed its sales representatives to focus on the physicians in
Pain                        their sales territories who were high opioid prescribers. This group
                            included cancer and pain specialists, primary care physicians, and
                            physicians who were high prescribers of Purdue’s older product, MS
                            Contin. One of Purdue’s goals was to identify primary care physicians who
                            would expand the company’s OxyContin prescribing base. Sales
                            representatives were also directed to call on oncology nurses, consultant
                            pharmacists, hospices, hospitals, and nursing homes.

                            From OxyContin’s launch until its July 2001 label change, Purdue used two
                            key promotional messages for primary care physicians and other high
                            prescribers. The first was that physicians should prescribe OxyContin for
                            their pain patients both as the drug “to start with and to stay with.” The
                            second contrasted dosing with other opioid pain relievers with OxyContin
                            dosing as “the hard way versus the easy way” to dose because OxyContin’s
                            twice-a-day dosing was more convenient for patients.25 Purdue’s sales
                            representatives promoted OxyContin to physicians as an initial opioid
                            treatment for moderate-to-severe pain lasting more than a few days, to be
                            prescribed instead of other single-entity opioid analgesics or short-acting
                            combination opioid pain relievers. Purdue has stated that by 2003 primary
                            care physicians had grown to constitute nearly half of all OxyContin
                            prescribers, based on data from IMS Health, an information service
                            providing pharmaceutical market research. DEA’s analysis of physicians
                            prescribing OxyContin found that the scope of medical specialties was
                            wider for OxyContin than five other controlled-release, schedule II
                            narcotic analgesics. DEA expressed concern that this resulted in



                            25
                              Following OxyContin’s July 2001 label change, Purdue modified its promotional messages
                            but continued to focus on encouraging physicians to prescribe OxyContin for patients
                            taking pain relievers every 4 to 6 hours. In 2003, Purdue began using the promotional claim
                            “there can be life with relief” in OxyContin promotion.




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                        OxyContin’s being promoted to physicians who were not adequately
                        trained in pain management.

                        Purdue’s promotion of OxyContin for the treatment of noncancer pain
                        contributed to a greater increase in prescriptions for noncancer pain than
                        for cancer pain from 1997 through 2002.26 According to IMS Health data,
                        the annual number of OxyContin prescriptions for noncancer pain
                        increased nearly tenfold, from about 670,000 in 1997 to about 6.2 million in
                        2002.27 In contrast, during the same 6 years, the annual number of
                        OxyContin prescriptions for cancer pain increased about fourfold, from
                        about 250,000 in 1997 to just over 1 million in 2002. The noncancer
                        prescriptions therefore increased from about 73 percent of total
                        OxyContin prescriptions to about 85 percent during that period, while the
                        cancer prescriptions decreased from about 27 percent of the total to about
                        15 percent. IMS Health data indicated that prescriptions for other schedule
                        II opioid drugs, such as Duragesic28 and morphine products, for noncancer
                        pain also increased during this period. Duragesic prescriptions for
                        noncancer pain were about 46 percent of its total prescriptions in 1997,
                        and increased to about 72 percent of its total in 2002. Morphine products,
                        including, for example, Purdue’s MS Contin, also experienced an increase
                        in their noncancer prescriptions during the same period. Their noncancer
                        prescriptions were about 42 percent of total prescriptions in 1997, and
                        increased to about 65 percent in 2002. DEA has cited Purdue’s focus on
                        promoting OxyContin for treating a wide range of conditions as one of the
                        reasons the agency considered Purdue’s marketing of OxyContin to be
                        overly aggressive.




                        26
                         IMS Health reported noncancer prescriptions written for the following types of pain
                        conditions: surgical aftercare; musculoskeletal disorders including back and neck
                        disorders, arthritis conditions, and injuries and trauma including bone fractures; central
                        nervous system disorders including headache conditions such as migraines; genitourinary
                        disorders including kidney stones; and other types of general pain.
                        27
                         The IMS Health data included information from the National Disease and Therapeutics
                        Index and the National Prescription Audit. The National Disease and Therapeutics Index
                        does not capture data from anesthesiologists and dental specialties. The National
                        Prescription Audit data include retail pharmacy, long-term-care, and mail-order
                        prescriptions.
                        28
                         Duragesic is a skin patch used to deliver the opioid pain reliever fentanyl over a 72-hour
                        period.




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Purdue Significantly         Purdue significantly increased its sales force to market and promote
Increased Its Sales Force    OxyContin to physicians and other health care practitioners. In 1996,
to Market and Promote        Purdue began promoting OxyContin with a sales force of approximately
                             300 representatives in its Prescription Sales Division.29 Through a 1996
OxyContin                    copromotion agreement, Abbott Laboratories provided at least another
                             300 representatives, doubling the total OxyContin sales force.30 By 2000,
                             Purdue had more than doubled its own internal sales force to 671. The
                             expanded sales force included sales representatives from the Hospital
                             Specialty Division, which was created in 2000 to increase promotional
                             visits on physicians located in hospitals. (See table 1.)

                             Table 1: Sales Representative Positions Available for OxyContin Promotion, 1996
                             through 2002
                                                          a
                                 Positions available                         1996      1997    1998   1999   2000   2001   2002
                                 Purdue Prescription Sales Division           318       319     377    471    562    641    641
                                 Purdue Hospital Specialty Division              0         0      0      0    109    125    126
                                 Subtotal—All Purdue sales
                                 representatives                              318       319     377    471    671    766    767
                                 Abbott Laboratories sales
                                                 b
                                 representatives                              300       300     300    300    300    300    300
                                 Total                                        618       619     677    771    971 1,066 1,067

                             Source: GAO analysis of Purdue data.
                             a
                              All positions were not necessarily filled in a given year.
                             b
                              Under the OxyContin copromotion agreement, Abbott Laboratories provided at least 300 sales
                             representatives each year.


                             The manufacturers of two of the three comparable schedule II drugs have
                             smaller sales forces than Purdue. Currently, the manufacturer of Kadian
                             has about 100 sales representatives and is considering entering into a
                             copromotion agreement. Elan, the current owner of Oramorph SR, has
                             approximately 300 representatives, but told us that it is not currently
                             marketing Oramorph SR. The manufacturer of Avinza had approximately
                             50 representatives at its product launch. In early 2003, Avinza’s
                             manufacturer announced that more than 700 additional sales


                             29
                                  These sales representatives were also responsible for promoting other Purdue products.
                             30
                               Abbott Laboratories sales representatives’ promotion of OxyContin is limited to hospital-
                             based anesthesiologists and surgeons and major hospitals, medical centers, and
                             freestanding pain clinics.




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                        representatives would be promoting the drug under its copromotion
                        agreement with the pharmaceutical manufacturer Organon—for a total of
                        more than 800 representatives.

                        By more than doubling its total sales representatives, Purdue significantly
                        increased the number of physicians to whom it was promoting OxyContin.
                        Each Purdue sales representative has a specific sales territory and is
                        responsible for developing a list of about 105 to 140 physicians to call on
                        who already prescribe opioids or who are candidates for prescribing
                        opioids. In 1996, the 300-plus Purdue sales representatives had a total
                        physician call list of approximately 33,400 to 44,500. By 2000, the nearly
                        700 representatives had a total call list of approximately 70,500 to 94,000
                        physicians. Each Purdue sales representative is expected to make about 35
                        physician calls per week and typically calls on each physician every 3 to 4
                        weeks. Each hospital sales representative is expected to make about 50
                        calls per week and typically calls on each facility every 4 weeks.

                        Purdue stated it offered a “better than industry average” salary and sales
                        bonuses to attract top sales representatives and provide incentives to
                        boost OxyContin sales as it had done for MS Contin. Although the sales
                        representatives were primarily focused on OxyContin promotion, the
                        amount of the bonus depended on whether a representative met the sales
                        quotas in his or her sales territory for all company products. As
                        OxyContin’s sales increased, Purdue’s growth-based portion of the bonus
                        formula increased the OxyContin sales quotas necessary to earn the same
                        base sales bonus amounts. The amount of total bonuses that Purdue
                        estimated were tied to OxyContin sales increased significantly from about
                        $1 million in 1996, when OxyContin was first marketed, to about $40
                        million in 2001. Beginning in 2000, when the newly created hospital
                        specialty representatives began promoting OxyContin, their estimated
                        total bonuses were approximately $6 million annually. In 2001, the average
                        annual salary for a Purdue sales representative was $55,000, and the
                        average annual bonus was $71,500. During the same year, the highest
                        annual sales bonus was nearly $240,000, and the lowest was nearly
                        $15,000. In 2001, Purdue decided to limit the sales bonus a representative
                        could earn based on the growth in prescribing of a single physician after a
                        meeting with the U.S. Attorney for the Western District of Virginia at
                        which the company was informed of the possibility that a bonus could be
                        based on the prescribing of one physician.




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Purdue Employed Multiple    In addition to expanding its sales force, Purdue used multiple approaches
Approaches to Market and    to market and promote OxyContin. These approaches included expanding
Promote OxyContin           its physician speaker bureau and conducting speaker training conferences,
                            sponsoring pain-related educational programs, issuing OxyContin starter
                            coupons for patients’ initial prescriptions, sponsoring pain-related Web
                            sites, advertising OxyContin in medical journals, and distributing
                            OxyContin marketing items to health care professionals.

                            In our report on direct-to-consumer advertising, we found that most
                            promotional spending is targeted to physicians.31 For example, in 2001, 29
                            percent of spending on pharmaceutical promotional activities was related
                            to activities of pharmaceutical sales representatives directed to
                            physicians, and 2 percent was for journal advertising—both activities
                            Purdue uses for its OxyContin promotion. The remaining 69 percent of
                            pharmaceutical promotional spending involved sampling (55 percent),
                            which is the practice of providing drug samples during sales visits to
                            physician offices, and direct-to-consumer advertising (14 percent)—both
                            activities that Purdue has stated it does not use for OxyContin.

                            According to DEA’s analysis of IMS Health data, Purdue spent
                            approximately 6 to 12 times more on promotional efforts during
                            OxyContin’s first 6 years on the market than it had spent on its older
                            product, MS Contin, during its first 6 years, or than had been spent by
                            Janssen Pharmaceutical Products, L.P., for one of OxyContin’s drug
                            competitors, Duragesic. (See fig. 1.)




                            31
                             U.S. General Accounting Office, Prescription Drugs: FDA Oversight of Direct-to-
                            Consumer Advertising Has Limitations, GAO-03-177 (Washington, D.C.: Oct. 28, 2002).




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                        Figure 1: Promotional Spending for Three Opioid Analgesics in First 6 Years of
                        Sales
                         Absolute dollars in millions
                         30



                         25



                         20



                         15



                         10



                          5



                          0
                               Year 1               Year 2              Year 3              Year 4     Year 5       Year 6
                                        MS Contin: 1984-1989

                                        OxyContin: 1996-2001
                                        Duragesic: 1991-1996

                        Source: DEA and IMS Health, Integrated Promotional Service Audit.

                        Note: Dollars are 2002 adjusted.


                        During the first 5 years that OxyContin was marketed, Purdue conducted
                        over 40 national pain management and speaker training conferences,
                        usually in resort locations such as Boca Raton, Florida, and Scottsdale,
                        Arizona, to recruit and train health care practitioners for its national
                        speaker bureau. The trained speakers were then made available to speak
                        about the appropriate use of opioids, including oxycodone, the active
                        ingredient in OxyContin, to their colleagues in various settings, such as
                        local medical conferences and grand round presentations in hospitals
                        involving physicians, residents, and interns. Over the 5 years, these
                        conferences were attended by more than 5,000 physicians, pharmacists,
                        and nurses, whose travel, lodging, and meal costs were paid by the
                        company. Purdue told us that less than 1 percent annually of the
                        physicians called on by Purdue sales representatives attended these
                        conferences. Purdue told us it discontinued conducting these conferences
                        in fall 2000. Purdue’s speaker bureau list from 1996 through mid-2002
                        included nearly 2,500 physicians, of whom over 1,000 were active
                        participants. Purdue has paid participants a fee for speaking based on the
                        physician’s qualifications; the type of program and time commitment



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                        involved; and expenses such as airfare, hotel, and food. The company
                        currently marketing the comparable drug Avinza has a physician speaker
                        bureau, but does not sponsor speaker training and conferences at resort
                        locations. Kadian’s current company does not have a physician speaker
                        bureau and has not held any conferences.

                        From 1996, when OxyContin was introduced to the market, to July 2002,
                        Purdue has funded over 20,000 pain-related educational programs through
                        direct sponsorship or financial grants. These grants included support for
                        programs to provide physicians with opportunities to earn required
                        continuing medical education credits, such as grand round presentations
                        at hospitals and medical education seminars at state and local medical
                        conferences. During 2001 and 2002, Purdue funded a series of nine
                        programs throughout the country to educate hospital physicians and staff
                        on how to comply with JCAHO’s pain standards for hospitals and to
                        discuss postoperative pain treatment. Purdue was one of only two drug
                        companies that provided funding for JCAHO’s pain management
                        educational programs.32 Under an agreement with JCAHO, Purdue was the
                        only drug company allowed to distribute certain educational videos and a
                        book about pain management; these materials were also available for
                        purchase from JCAHO’s Web site. Purdue’s participation in these activities
                        with JCAHO may have facilitated its access to hospitals to promote
                        OxyContin.

                        For the first time in marketing any of its products, Purdue used a patient
                        starter coupon program for OxyContin to provide patients with a free
                        limited-time prescription. Unlike patient assistance programs, which
                        provide free prescriptions to patients in financial need, a coupon program
                        is intended to enable a patient to try a new drug through a one-time free
                        prescription. A sales representative distributes coupons to a physician,
                        who decides whether to offer one to a patient, and then the patient
                        redeems it for a free prescription through a participating pharmacy. The
                        program began in 1998 and ran intermittently for 4 years. In 1998 and 1999,
                        each sales representative had 25 coupons that were redeemable for a free
                        30-day supply. In 2000 each representative had 90 coupons for a 7-day
                        supply, and in 2001 each had 10 coupons for a 7-day supply.
                        Approximately 34,000 coupons had been redeemed nationally when the



                        32
                         During 2000 through 2002, JCAHO sponsored a series of educational programs on pain
                        management standards with various cosponsors, including pain-related groups such as the
                        American Pain Society and the American Academy of Pain Medicine.




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                        program was terminated following the July 2001 OxyContin label change.
                        The manufacturers of two of the comparable drugs we examined—Avinza
                        and Kadian—used coupon programs to introduce patients to their
                        products. Avinza’s coupon program requires patients to make a copayment
                        to cover part of the drug’s cost.

                        Purdue has also used Web sites to provide pain-related information to
                        consumers and others. In addition to its corporate Web site, which
                        provides product information, Purdue established the “Partners Against
                        Pain” Web site in 1997 to provide consumers with information about pain
                        management and pain treatment options. According to FDA, the Web site
                        also contained information about OxyContin. Separate sections provide
                        information for patients and caregivers, medical professionals, and
                        institutions. The Web site includes a “Find a Doctor” feature to enable
                        consumers to find physicians who treat pain in their geographic area.33 As
                        of July 2002, over 33,000 physicians were included. Ligand, which markets
                        Avinza, one of the comparable drugs, has also used a corporate Web site to
                        provide product information. Purdue has also funded Web sites, such as
                        FamilyPractice.com, that provide physicians with free continuing medical
                        educational programs on pain management.34 Purdue has also provided
                        funding for Web site development and support for health care groups such
                        as the American Chronic Pain Association and the American Academy of
                        Pain Medicine. In addition, Purdue is one of 28 corporate donors—which
                        include all three comparable drug companies—listed on the Web site of
                        the American Pain Society, the mission of which is to improve pain-related
                        education, treatment, and professional practice. Purdue also sponsors
                        painfullyobvious.com, which it describes as a youth-focused “message
                        campaign designed to provide information—and stimulate open
                        discussions—on the dangers of abusing prescription drugs.”

                        Purdue also provided its sales representatives with 14,000 copies of a
                        promotional video in 1999 to distribute to physicians. Entitled From One
                        Pain Patient to Another: Advice from Patients Who Have Found Relief,
                        the video was to encourage patients to report their pain and to alleviate
                        patients’ concerns about taking opioids. Purdue stated that the video was
                        to be used “in physician waiting rooms, as a ‘check out’ item for an office’s


                        33
                         The “Find a Doctor” feature is a physician listing service provided by the National
                        Physicians DataSource, LLC.
                        34
                         Purdue has also helped to fund the Dannemiller Memorial Education Foundation and the
                        American Academy of Physician Assistants Web sites.




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                            patient education library, or as an educational tool for office or hospital
                            staff to utilize with patients and their families.” Copies of the video were
                            also available for ordering on the “Partners Against Pain” Web site from
                            June 2000 through July 2001. The video did not need to be submitted to
                            FDA for its review because it did not contain any information about
                            OxyContin. However, the video included a statement that opioid
                            analgesics have been shown to cause addiction in less than 1 percent of
                            patients. According to FDA, this statement has not been substantiated.

                            As part of its marketing campaign, Purdue distributed several types of
                            branded promotional items to health care practitioners. Among these
                            items were OxyContin fishing hats, stuffed plush toys, coffee mugs with
                            heat-activated messages, music compact discs, luggage tags, and pens
                            containing a pullout conversion chart showing physicians how to calculate
                            the dosage to convert a patient to OxyContin from other opioid pain
                            relievers.35 In May 2002, in anticipation of PhRMA’s voluntary guidance for
                            sales representatives’ interactions with health care professionals, Purdue
                            instructed its sales force to destroy any remaining inventory of non-health-
                            related promotional items, such as stuffed toys or golf balls. In early 2003,
                            Purdue began distributing an OxyContin branded goniometer—a range
                            and motion measurement guide. According to DEA, Purdue’s use of
                            branded promotional items to market OxyContin was unprecedented
                            among schedule II opioids, and was an indicator of Purdue’s aggressive
                            and inappropriate marketing of OxyContin.

                            Another approach Purdue used to promote OxyContin was to place
                            advertisements in medical journals. Purdue’s annual spending for
                            OxyContin advertisements increased from about $700,000 in 1996 to about
                            $4.6 million in 2001. All three companies that marketed the comparable
                            drugs have also used medical journal advertisements to promote their
                            products.


OxyContin Advertisements    Purdue has been cited twice by FDA for using advertisements in
Violated the FD&C Act       professional medical journals that violated the FD&C Act. In May 2000,
                            FDA issued an untitled letter to Purdue regarding a professional medical




                            35
                             It is common drug industry practice for companies to provide conversion tables for sales
                            representatives to distribute to health care practitioners. Purdue used a similar pen for its
                            older product, MS Contin.




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                        journal advertisement for OxyContin.36 FDA noted that among other
                        problems, the advertisement implied that OxyContin had been studied for
                        all types of arthritis pain when it had been studied only in patients with
                        moderate-to-severe osteoarthritis pain, the advertisement suggested
                        OxyContin could be used as an initial therapy for the treatment of
                        osteoarthritis pain without substantial evidence to support this claim, and
                        the advertisement promoted OxyContin in a selected class of patients—
                        the elderly—without presenting risk information applicable to that class of
                        patients.37 Purdue agreed to stop dissemination of the advertisement. The
                        second action taken by FDA was more serious. In January 2003, FDA
                        issued a warning letter to Purdue regarding two professional medical
                        journal advertisements for OxyContin that minimized its risks and
                        overstated its efficacy, by failing to prominently present information from
                        the boxed warning on the potentially fatal risks associated with OxyContin
                        and its abuse liability, along with omitting important information about the
                        limitations on the indicated use of OxyContin.38 The FDA requested that
                        Purdue cease disseminating these advertisements and any similar violative
                        materials and provide a plan of corrective action. In response, Purdue
                        issued a corrected advertisement, which called attention to the warning
                        letter and the cited violations and directed the reader to the prominently
                        featured boxed warning and indication information for OxyContin.39 The
                        FDA letter was one of only four warning letters issued to drug
                        manufacturers during the first 8 months of 2003.40

                        In addition, in follow-up discussions with Purdue officials on the January
                        2003 warning letter, FDA expressed concerns about some of the
                        information on Purdue’s “Partners Against Pain” Web site. The Web site
                        appeared to suggest unapproved uses of OxyContin for postoperative pain
                        that may have been inconsistent with OxyContin’s labeling and lacked risk


                        36
                         FDA indicated that in 2000, it issued 75 untitled letters to 46 drug manufacturers, as well
                        as 4 warning letters to 4 drug manufacturers, for using promotional activities that violated
                        the FD&C Act.
                        37
                             The advertisement appeared in the New England Journal of Medicine in May 2000.
                        38
                         The advertisements appeared in the Journal of the American Medical Association in
                        October and November 2002.
                        39
                         According to FDA, the corrective advertisement ran for 3 months and appeared in
                        approximately 30 medical journals.
                        40
                         FDA indicated that from January through August 2003, it issued 4 warning letters to four
                        manufacturers and 12 untitled letters to seven drug manufacturers for using promotional
                        activities that violated the FD&C Act.




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                            information about the drug. For example, one section of the Web site did
                            not disclose that OxyContin is not indicated for pain in the immediate
                            postoperative period—the first 12 to 24 hours following surgery—for
                            patients not previously taking the drug, because its safety in this setting
                            has not been established. The Web site also did not disclose that
                            OxyContin is indicated for postoperative pain in patients already taking
                            the drug or for use after the first 24 hours following surgery only if the
                            pain is moderate to severe and expected to persist for an extended period
                            of time. Purdue voluntarily removed all sections of the Web site that were
                            of concern to FDA.

                            FDA has also sent enforcement letters to other manufacturers of
                            controlled substances for marketing and promotion violations of the
                            FD&C Act. For example, in 1996, FDA issued an untitled letter to Zeneca
                            Pharmaceuticals, at the time the promoter of Kadian,41 for providing
                            information about the drug to a health professional prior to its approval in
                            the United States. Roxane Laboratories, the manufacturer of Oramorph
                            SR, was issued four untitled letters between 1993 and 1995 for making
                            misleading and possibly false statements. Roxane used children in an
                            advertisement even though Oramorph SR had not been evaluated in
                            children, and a Roxane sales representative issued a promotional letter to
                            a pharmacist that claimed, among other things, that Oramorph SR was
                            superior to MS Contin in providing pain relief. FDA has sent no
                            enforcement letters to Ligand Pharmaceuticals concerning Avinza.


Purdue Distributed an       Beginning in 1998, Purdue, as part of its marketing and promotion of
OxyContin Video without     OxyContin, distributed 15,000 copies of an OxyContin video to physicians
FDA’s Review That           without submitting it to FDA for review. This video, entitled I Got My Life
                            Back: Patients in Pain Tell Their Story, presented the pain relief
Appears to Have Made        experiences of various patients and the pain medications, including
Unsubstantiated Claims      OxyContin, they had been prescribed. FDA regulations require
and Minimized Risks         pharmaceutical manufacturers to submit all promotional materials for
                            approved prescription drug products to the agency at the time of their
                            initial use. Because Purdue did not comply with this regulation, FDA did
                            not have an opportunity to review the video to ensure that the information
                            it contained was truthful, balanced, and accurately communicated. Purdue
                            has acknowledged the oversight of not submitting the video to FDA for



                            41
                             Zeneca Pharmaceuticals promoted Kadian for Faulding Laboratories, the drug’s
                            manufacturer at that time.




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                        review. In February 2001, Purdue submitted a second version of the video
                        to FDA, which included information about the 160-milligram OxyContin
                        tablet. FDA did not review this second version until October 2002, after we
                        inquired about its content. FDA told us it found that the second version of
                        the video appeared to make unsubstantiated claims regarding OxyContin’s
                        effect on patients’ quality of life and ability to perform daily activities and
                        minimized the risks associated with the drug.

                        The 1998 video used a physician spokesperson to describe patients with
                        different pain syndromes and the limitations that each patient faced in his
                        or her daily activities. Each patient’s pain treatment was discussed, along
                        with the dose amounts and brand names of the prescription drugs,
                        including OxyContin, that either had been prescribed in the past or were
                        being prescribed at that time. The physician in the videos also stated that
                        opioid analgesics have been shown to cause addiction in less than 1
                        percent of patients—a fact that FDA has stated has not been substantiated.
                        At the end of the video, the OxyContin label was scrolled for the viewer.

                        In 2000, Purdue submitted another promotional video to FDA entitled I
                        Got My Life Back: A Two Year Follow up of Patients in Pain, and it
                        submitted a second version of this video in 2001, which also included
                        information on the 160-milligram OxyContin tablet. Purdue distributed
                        12,000 copies of these videos to physicians. Both versions scrolled the
                        OxyContin label at the end of the videos. FDA stated that it did not review
                        either of these videos for enforcement purposes because of limited
                        resources. Distribution of all four Purdue videos was discontinued by July
                        2001, in response to OxyContin’s labeling changes, which required the
                        company to modify all of its promotional materials, but copies of the
                        videos that had already been distributed were not retrieved and destroyed.

                        FDA said that it receives numerous marketing and promotional materials
                        for promoted prescription drugs and that while every effort is made to
                        review the materials, it cannot guarantee that all materials are reviewed
                        because of limited resources and competing priorities. FDA officials also
                        stated that pharmaceutical companies do not always submit promotional
                        materials as required by regulations and that in such instances FDA would
                        not have a record of the promotional pieces.




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                            There are several factors that may have contributed to the abuse and
Several Factors May         diversion of OxyContin. OxyContin’s formulation as a controlled-release
Have Contributed to         opioid that is twice as potent as morphine may have made it an attractive
                            target for abuse and diversion. In addition, the original label’s safety
OxyContin Abuse and         warning advising patients not to crush the tablets because of the possible
Diversion, but              rapid release of a potentially toxic amount of oxycodone may have
                            inadvertently alerted abusers to possible methods for misuse. Further, the
Relationship to             rapid growth in OxyContin sales increased the drug’s availability in the
Availability Cannot Be      marketplace and may have contributed to opportunities to obtain the drug
Assessed                    illicitly. The history of abuse and diversion of prescription drugs in some
                            geographic areas, such as those within the Appalachian region, may have
                            predisposed some states to problems with OxyContin. However, we could
                            not assess the relationship between the growth in OxyContin prescriptions
                            or increased availability with the drug’s abuse and diversion because the
                            data on abuse and diversion are not reliable, comprehensive, or timely.


OxyContin’s Formulation     While OxyContin’s potency and controlled-release feature may have made
May Have Made It an         the drug beneficial for the relief of moderate-to-severe pain over an
Inviting Drug for Abuse     extended period of time, DEA has stated that those attributes of its
                            formulation have also made it an attractive target for abuse and diversion.
and Diversion               According to recent studies, oxycodone, the active ingredient in
                            OxyContin, is twice as potent as morphine.42 In addition, OxyContin’s
                            controlled-release feature allows a tablet to contain more active ingredient
                            than other, non-controlled-release oxycodone-containing drugs.

                            One factor that may have contributed to the abuse and diversion of
                            OxyContin was FDA’s original decision to label the drug as having less
                            abuse potential than other oxycodone products because of its controlled-
                            release formulation. FDA officials said when OxyContin was approved the
                            agency believed that the controlled-release formulation would result in
                            less abuse potential because, when taken properly, the drug would be
                            absorbed slowly, without an immediate rush or high. FDA officials
                            acknowledged that the initial wording of OxyContin’s label was
                            “unfortunate” but was based on what was known about the product at that
                            time.




                            42
                             See, for example, G.B. Curtis, et al. “Relative Potency of Controlled-Release Oxycodone
                            and Morphine in a Postoperative Pain Model,” European Journal of Clinical
                            Pharmacology, vol. 55, no. 6 (1999): 55:425-429.




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                             FDA officials told us that abusers typically seek a drug that is intense and
                             fast-acting. When OxyContin was approved, FDA did not recognize that if
                             the drug is dissolved in water and injected its controlled-release
                             characteristics could be disrupted, creating an immediate rush or high and
                             thereby increasing the potential for misuse and abuse. DEA officials told
                             us that OxyContin became a target for abusers and diverters because the
                             tablet contained larger amounts of active ingredient and the controlled-
                             release formulation was easy for abusers to compromise.

                             The safety warning on the OxyContin label may also have contributed to
                             the drug’s potential for abuse and diversion, by inadvertently providing
                             abusers with information on how the drug could be misused. The label
                             included the warning that the tablets should not be broken, chewed, or
                             crushed because such action could result in the rapid release and
                             absorption of a potentially toxic dose of oxycodone. FDA places similar
                             safety warnings on other drugs to ensure that they are used properly. FDA
                             officials stated that neither they nor other experts anticipated that
                             crushing the controlled-release tablet and intravenously injecting or
                             snorting the drug would become widespread and lead to a high level of
                             abuse.


OxyContin’s Wide             The large amount of OxyContin available in the marketplace may have
Availability May Have        increased opportunities for abuse and diversion. Both DEA and Purdue
Increased Opportunities      have stated that an increase in a drug’s availability in the marketplace may
                             be a factor that attracts interest by those who abuse and divert drugs.
for Illicit Use              Following its market introduction in 1996, OxyContin sales and
                             prescriptions grew rapidly through 2002. In 2001 and 2002 combined, sales
                             of OxyContin approached $3 billion, and over 14 million prescriptions for
                             the drug were dispensed. (See table 2.) OxyContin also became the top-
                             selling brand-name narcotic pain reliever in 2001 and was ranked 15th on a
                             list of the nation’s top 50 prescription drugs by retail sales.43




                             43
                              This information is from the National Institute for Health Care Management’s Prescription
                             Drug Expenditures reports for 2000 and 2001, prepared using American Institutes for
                             Research analysis of Scott-Levin Prescription Audit Data. OxyContin was ranked 18th in
                             2000.




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                            Table 2: Total OxyContin Sales and Prescriptions for 1996 through 2002 with
                            Percentage Increases from Year to Year

                                                                       Percentage            Number of            Percentage
                             Year                             Sales      increase         prescriptions             increase
                             1996                      $44,790,000              N/A              316,786                   N/A
                             1997                      125,464,000              180              924,375                   192
                             1998                      286,486,000              128            1,910,944                   107
                             1999                      555,239,000                94           3,504,827                       83
                             2000                      981,643,000                77           5,932,981                       69
                             2001                   1,354,717,000                 38           7,183,327                       21
                             2002                   1,536,816,000                 13           7,234,204                        7

                            Sources: Purdue and IMS Health.

                            Legend: N/A = not applicable.
                            Note: GAO analysis of OxyContin sales and prescription data from Purdue and IMS Health, which
                            includes data from all 50 states and the District of Columbia. Sales include combined retail and
                            nonretail sales in drugstores, hospitals, and long-term-care facilities from the IMS Health U.S.
                            National Sales database. Prescriptions include retail pharmacy, long-term-care, and mail-order
                            prescriptions from IMS Health’s National Prescriptions Audit.


History of Prescription     According to DEA, the abuse and diversion of OxyContin in some states
Drug Abuse in Some States   may have reflected the geographic area’s history of prescription drug
May Have Predisposed        abuse. The White House Office of National Drug Control Policy (ONDCP)
                            designates geographic areas with illegal drug trade activities for allocation
Them to Problems with       of federal resources to link local, state, and federal drug investigation and
OxyContin                   enforcement efforts. These areas, known as High-Intensity Drug
                            Trafficking Areas (HIDTA), are designated by ONDCP in consultation with
                            the Attorney General, the Secretary of the Treasury, heads of drug control
                            agencies, and governors in the states involved.44

                            According to a 2001 HIDTA report,45 the Appalachian region, which
                            encompasses parts of Kentucky, Tennessee, Virginia, and West Virginia,



                            44
                              In making a designation, ONDCP considers whether the geographic area is a center of
                            drug production, manufacturing, importation, or distribution; whether state and local law
                            enforcement agencies have committed resources to respond aggressively to the drug
                            trafficking problem; whether drug activities in the area are having a harmful impact on
                            other areas of the country; and whether a significant increase in federal resources is
                            necessary to respond to the area’s drug-related activities.
                            45
                             Appalachia High Intensity Drug Trafficking Area Task Force, The OxyContin Threat in
                            Appalachia (London, Ky.: August 2001).




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                             has been severely affected by prescription drug abuse, particularly pain
                             relievers, including oxycodone, for many years. Three of the four states—
                             Kentucky, Virginia, and West Virginia—were among the initial states to
                             report OxyContin abuse and diversion. Historically, oxycodone,
                             manufactured under brand names such as Percocet, Percodan, and Tylox,
                             was among the most diverted prescription drugs in Appalachia. According
                             to the report, OxyContin has become the drug of choice of abusers in
                             several areas within the region. The report indicates that many areas of the
                             Appalachian region are rural and poverty-stricken, and the profit potential
                             resulting from the illicit sale of OxyContin may have contributed to its
                             diversion and abuse. In some parts of Kentucky, a 20-milligram OxyContin
                             tablet, which can be purchased by legitimate patients for about $2, can be
                             sold illicitly for as much as $25. The potential to supplement their incomes
                             can lure legitimate patients into selling some of their OxyContin to street
                             dealers, according to the HIDTA report.


Limitations on Abuse and     The databases DEA uses to track the abuse and diversion of controlled
Diversion Data Prevent       substances all have limitations that prevent an assessment of the
Assessment of the            relationship between the availability of OxyContin and areas where the
                             drug is being abused or diverted. Specifically, these databases, which
Relationship with            generally do not provide information on specific brand-name drugs such
OxyContin’s Availability     as OxyContin, are based on data gathered from limited sources in specific
                             geographic areas and have a significant time lag. As a result, they do not
                             provide reliable, complete, or timely information that could be used to
                             identify abuse and diversion of a specific drug.

                             DEA officials told us that it is difficult to obtain reliable data on what
                             controlled substances are being abused by individuals and diverted from
                             pharmacies because available drug abuse and diversion tracking systems
                             do not capture data on a specific brand-name product or indicate where a
                             drug product is being abused and diverted on a state and local level.
                             Because of the time lags in reporting information, the data reflect a
                             delayed response to any emerging drug abuse and diversion problem. For
                             example, the Drug Abuse Warning Network (DAWN) estimates national
                             drug-related emergency department visits or deaths involving abused
                             drugs using data collected by the Substance Abuse and Mental Health
                             Services Administration (SAMHSA). The data are collected from hospital
                             emergency departments in 21 metropolitan areas that have agreed to
                             voluntarily report drug-abuse-related information from a sample of patient




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                        medical records, and from medical examiners in 42 metropolitan areas.46
                        However, DAWN cannot make estimates for rural areas, where initial
                        OxyContin abuse and diversion problems were reported to be most
                        prevalent, nor does it usually provide drug-product-specific information,
                        and its data have a lag time of about 1 year. DEA stated that development
                        of enhanced data collection systems is needed to provide “credible, legally
                        defensible evidence concerning drug abuse trends in America.”47

                        DEA relies primarily on reports from its field offices to determine where
                        abuse and diversion are occurring. DEA officials stated that the initial
                        areas that experienced OxyContin abuse and diversion problems included
                        rural areas within 8 states—Alaska, Kentucky, Maine, Maryland, Ohio,
                        Pennsylvania, Virginia, and West Virginia. In July 2002, DEA told us that it
                        learned that OxyContin abuse and diversion problems had spread into
                        larger areas of the initial 8 states, as well as parts of 15 other states, to
                        involve almost half of the 50 states.48 According to DEA officials, while
                        DEA field offices continue to report OxyContin as a drug of choice among
                        abusers, OxyContin has not been and is not now considered the most
                        highly abused and diverted prescription drug nationally.49 OxyContin is the
                        most abused single-entity prescription product according to those DEA
                        state and divisional offices that report OxyContin abuse.




                        46
                         The reliability of the data collected depends on whether the emergency room patient visit
                        was reported as drug related, whether the patient reported taking a particular drug, and
                        whether the emergency room physician indicated a drug’s brand name in the patient’s
                        medical record.
                        47
                             See app. III for more details on the abuse and diversion databases DEA uses.
                        48
                         The 15 states are Alabama, Arizona, Colorado, Connecticut, Florida, Louisiana,
                        Massachusetts, Mississippi, Missouri, New Jersey, North Carolina, South Carolina, Texas,
                        Washington, and Wisconsin.
                        49
                         Hydrocodone products, such as Anexsia, Hycodan, Lorcet, Lortab, and Vicodin, remain
                        among the most abused and diverted scheduled prescription drugs nationally.




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                            Since becoming aware of reports of abuse and diversion of OxyContin,
Federal and State           federal and state agencies and Purdue have taken actions intended to
Agencies and Purdue         address these problems. To protect the public health, FDA has
                            strengthened OxyContin label warnings and requested that Purdue
Have Taken Actions          develop and implement an OxyContin risk management plan. In addition,
to Prevent Abuse and        DEA has stepped up law enforcement actions to prevent abuse and
                            diversion of OxyContin. State Medicaid fraud control units have also
Diversion of                attempted to identify those involved in the abuse and diversion of
OxyContin                   OxyContin. Purdue has initiated drug abuse and diversion education
                            programs, taken disciplinary actions against sales representatives who
                            improperly promote OxyContin, and referred physicians who were
                            suspected of improperly prescribing OxyContin to the appropriate
                            authorities. However, until fall 2002 Purdue did not analyze its
                            comprehensive physician prescribing reports, which it routinely uses in
                            marketing and promoting OxyContin, and other indicators to identify
                            possible physician abuse and diversion.


Reports of Abuse and        Reports of abuse and diversion of OxyContin that were associated with an
Diversion Led to Label      increasing incidence of addiction, overdose, and death prompted FDA to
Changes and Other Actions   revise the drug’s label and take other actions to protect the public health.
                            In July 2001, FDA reevaluated OxyContin’s label and made several changes
by FDA                      in an effort to strengthen the “Warnings” section of the label. FDA added a
                            subsection—“Misuse, Abuse, and Diversion of Opioids”—to stress that
                            physicians and pharmacists should be alert to the risk of misuse, abuse,
                            and diversion when prescribing or dispensing OxyContin. FDA also added
                            a black box warning—the highest level of warning FDA can place on an
                            approved drug product. FDA highlighted the language from the original
                            1995 label—stating that OxyContin is a schedule II controlled substance
                            with an abuse liability similar to morphine—by moving it into the black
                            box. Also, while the original label suggested that taking broken, chewed,
                            or crushed OxyContin tablets “could lead to the rapid release and
                            absorption of a potentially toxic dose of oxycodone,” a more strongly
                            worded warning in the black box stated that taking the drug in this manner
                            “leads to rapid release and absorption of a potentially fatal dose of
                            oxycodone” (emphasis added). (See table 3.) In addition to the black box
                            warning, FDA also changed the language in the original label that
                            described the incidence of addiction inadvertently induced by physician
                            prescribing as rare if opioids are legitimately used in the management of
                            pain. The revised label stated that data are not available to “establish the
                            true incidence of addiction in chronic patients.”




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                        Table 3: Selected Language Approved by FDA in Warning Sections of OxyContin
                        Labels, 1995 and 2001

                         Warning label in 1995                                 Black box warning in 2001
                         “Warning:                                             “Warning: OxyContin is an opioid agonist
                         OxyContin Tablets are to be swallowed                 and a Schedule II controlled substance
                         whole, and are not to be broken, chewed, or           with an abuse liability similar to
                         crushed. Taking broken, chewed, or crushed            morphine.”
                         OxyContin Tablets could lead to the rapid             “OxyContin Tablets are to be swallowed
                         release and absorption of a potentially toxic         whole and are not to be broken, chewed,
                         dose of oxycodone.”                                   or crushed. Taking broken, chewed, or
                                                                               crushed OxyContin Tablets leads to rapid
                                                                               release and absorption of a potentially
                                                                               fatal dose of oxycodone.” (emphasis
                                                                               added)

                        Source: FDA-approved label for Purdue’s OxyContin.



                        As mentioned earlier, the indication described in the original label was
                        also revised to clarify the appropriate time period for which OxyContin
                        should be prescribed for patients experiencing moderate-to-severe pain.
                        The language in the 1995 label was changed from “where use of an opioid
                        analgesic is appropriate for more than a few days” to “when a continuous,
                        around-the-clock analgesic is needed for an extended period of time.” (See
                        table 4.) A summary of changes made by FDA to the original OxyContin
                        label is given in appendix II.

                        Table 4: Selected Language Approved by FDA in the Indication Sections of
                        OxyContin Labels, 1995 and 2001

                         Indication in 1995                                   Black box indication change in 2001
                         “OxyContin Tablets are a controlled-release          “OxyContin Tablets are a controlled-release
                         oral formulation of oxycodone hydrochloride          oral formulation of oxycodone hydrochloride
                         indicated for the management of moderate-            indicated for the management of moderate-
                         to-severe pain where use of an opioid                to-severe pain when a continuous,
                         analgesic is appropriate for more than a few         around-the-clock analgesic is needed
                         days.”                                               for an extended period of time.”
                                                                              (emphasis added)

                        Source: FDA-approved label for Purdue’s OxyContin.



                        Beginning in early 2001, FDA collaborated with Purdue to develop and
                        implement a risk management plan to help identify and prevent abuse and
                        diversion of OxyContin. As a part of the risk management plan in
                        connection with the labeling changes, Purdue was asked by FDA to revise
                        all of its promotional materials for OxyContin to reflect the labeling



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                            changes. In August 2001, FDA sent a letter to Purdue stating that all future
                            promotional materials for OxyContin should prominently disclose the
                            information contained in the boxed warning; the new warnings that
                            address misuse, abuse, diversion, and addiction; and the new precautions
                            and revised indication for OxyContin. Purdue agreed to comply with this
                            request.

                            FDA officials told us that it is standard procedure to contact a drug
                            manufacturer when the agency becomes aware of reports of abuse and
                            diversion of a drug product so that FDA and the drug manufacturer can
                            tailor a specific response to the problem. While FDA’s experience with
                            risk management plans is relatively new, agency officials told us that
                            OxyContin provided the opportunity to explore the use of the plans to help
                            identify abuse and diversion problems. FDA is currently making decisions
                            about whether risk management plans will be requested for selected
                            opioid products. Also, in September 2003, FDA’s Anesthetic and Life
                            Support Drugs Advisory Committee held a public hearing to discuss its
                            current review of proposed risk management plans for opioid analgesic
                            drug products to develop strategies for providing patients with access to
                            pain treatment while limiting the abuse and diversion of these products.

                            FDA has also taken other actions to address the abuse and diversion of
                            OxyContin. It put information on its Web site for patients regarding the
                            appropriate use of OxyContin.50 FDA worked with Purdue to develop
                            “Dear Health Care Professional” letters, which the company distributed
                            widely to health care professionals to alert them that the package insert
                            had been revised to clarify the indication and strengthen the warnings
                            related to misuse, abuse, and diversion. FDA also has worked with DEA,
                            SAMHSA, the National Institute on Drug Abuse, ONDCP, and the Centers
                            for Disease Control and Prevention to share information and insights on
                            the problem of abuse and diversion of OxyContin.


DEA Developed an Action     In April 2001, DEA developed a national action plan to deter abuse and
Plan to Deter OxyContin     diversion of OxyContin. According to DEA officials, this marked the first
Abuse and Diversion         time the agency had targeted a specific brand-name product for
                            monitoring because of the level and frequency of abuse and diversion
                            associated with the drug. Key components of the action plan include
                            coordinating enforcement and intelligence operations with other law


                            50
                                 See www.fda.gov/cder/drug/infopage/oxycontin/default.htm.




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                        enforcement agencies to target people and organizations involved in abuse
                        and diversion of OxyContin, pursuing regulatory and administrative action
                        to limit abusers’ access to OxyContin, and building national outreach
                        efforts to educate the public on the dangers related to the abuse and
                        diversion of OxyContin. DEA has also set Purdue’s procurement quota for
                        oxycodone at levels lower than the levels requested by Purdue.

                        DEA has increased enforcement efforts to prevent abuse and diversion of
                        OxyContin. From fiscal year 1996 through fiscal year 2002, DEA initiated
                        313 investigations involving OxyContin, resulting in 401 arrests. Most of
                        the investigations and arrests occurred after the initiation of the action
                        plan. Since the plan was enacted, DEA initiated 257 investigations and
                        made 302 arrests in fiscal years 2001 and 2002. Among those arrested were
                        several physicians and pharmacists. Fifteen health care professionals
                        either voluntarily surrendered their controlled substance registrations or
                        were immediately suspended from registration by DEA. In addition, DEA
                        reported that $1,077,500 in fines was assessed and $742,678 in cash was
                        seized by law enforcement agencies in OxyContin-related cases in 2001
                        and 2002.

                        Among several regulatory and administrative actions taken to limit
                        abusers’ access to OxyContin and controlled substances, DEA’s Office of
                        Diversion Control, in collaboration with the Department of Justice’s Office
                        of Justice Programs, Bureau of Justice Assistance, provides grants to
                        states for the establishment of prescription drug monitoring programs. The
                        conference committee report for the fiscal year 2002 appropriation to the
                        Department of Justice directed the Office of Justice Programs to make a
                        $2 million grant in support of the Harold Rogers Prescription Drug
                        Monitoring Program, which enhances the capacity of regulatory and law
                        enforcement agencies to collect and analyze controlled substance
                        prescription data. The program provided grants to establish new
                        monitoring programs in Ohio, Pennsylvania, Virginia, and West Virginia.
                        California, Kentucky, Massachusetts, Nevada, and Utah also received
                        grants to enhance existing monitoring programs.

                        DEA has also attempted to raise national awareness of the dangers
                        associated with abuse and diversion of OxyContin. In October 2001 DEA
                        joined 21 national pain and health organizations in issuing a consensus
                        statement calling for a balanced policy on prescription medication use.
                        According to the statement, such a policy would acknowledge that health
                        care professionals and DEA share responsibility for ensuring that
                        prescription medications, such as OxyContin, are available to patients who
                        need them and for preventing these drugs from becoming a source of


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                            abuse and diversion. DEA and the health organizations also called for a
                            renewed focus on educating health professionals, law enforcement, and
                            the public about the appropriate use of opioid pain medications in order to
                            promote responsible prescribing and limit instances of abuse and
                            diversion. DEA is also working with FDA to encourage state medical
                            boards to require, as a condition of their state licensing, that physicians
                            obtain continuing medical education on pain management.

                            When OxyContin was first introduced to the market in 1996, DEA granted
                            Purdue’s initial procurement quota request for oxycodone. According to
                            DEA, increases in the quota were granted for the first several years.
                            Subsequently, concern over the dramatic increases in sales caused DEA to
                            request additional information to support Purdue’s requests to increase
                            the quota. In the last several years, DEA has taken the additional step of
                            lowering the procurement quota requested by Purdue for the manufacture
                            of OxyContin as a means for addressing abuse and diversion. However,
                            DEA has cited the difficulty of determining an appropriate level while
                            ensuring that adequate quantities were available for legitimate medical
                            use, as there are no direct measures available to establish legitimate
                            medical need.


State Agencies Have         State Medicaid fraud control units and medical licensure boards have
Responded to Reports of     taken action in response to reports of abuse and diversion of OxyContin.
OxyContin Abuse and         State Medicaid fraud control units have conducted investigations of abuse
                            and diversion of OxyContin, but generally do not maintain precise data on
Diversion                   the number of investigations and enforcement actions completed.
                            Although complete information was not available from directors of state
                            Medicaid fraud control units in Kentucky, Maryland, Pennsylvania,
                            Virginia, and West Virginia with whom we spoke, each of those directors
                            told us that abuse and diversion of OxyContin is a problem in his or her
                            state. The directors told us that they had investigated cases that involved
                            physicians or individuals who had either been indicted or prosecuted for
                            writing medically unnecessary OxyContin prescriptions in exchange for
                            cash or sexual relationships.

                            State medical licensure boards have also responded to complaints about
                            physicians who were suspected of abuse and diversion of controlled
                            substances, but like the Medicaid fraud control units, the boards generally
                            do not maintain data on the number of investigations that involved
                            OxyContin. Representatives of state boards of medicine in Kentucky,
                            Pennsylvania, Virginia, and West Virginia told us that they have received
                            complaints from various sources, such as government agencies, health


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                            care professionals, and anonymous tipsters, about physicians suspected of
                            abuse and diversion of controlled substances. However, each of the four
                            representatives stated that his or her board does not track the complaints
                            by specific drug type and consequently cannot determine whether the
                            complaints received allege physicians’ misuse of OxyContin. Each of the
                            four representatives also told us that his or her medical licensure board
                            has adopted or strengthened guidelines or regulations for physicians on
                            prescribing, administering, and dispensing controlled substances in the
                            treatment of chronic pain. For example, in March 2001, the Kentucky
                            Board of Medical Licensure adopted guidelines to clarify the board’s
                            position on the use of controlled substances for nonterminal/nonmalignant
                            chronic pain.51 The boards of medicine in Pennsylvania, Virginia, and West
                            Virginia each have guidelines for the appropriate use of controlled
                            substances that are similar to those adopted by Kentucky.


Purdue Is Implementing a    In response to concerns about abuse and diversion of OxyContin, in April
Risk Management Plan for    2001 FDA and Purdue began to discuss the development of a risk
OxyContin                   management plan to help detect and prevent abuse and diversion of
                            OxyContin. Purdue submitted its risk management plan to FDA for review
                            in August 2001.52 The plan includes some actions that Purdue proposed to
                            take, as well as others that it has already taken. Purdue’s risk management
                            plan includes actions such as strengthening the safety warnings on
                            OxyContin’s label for professionals and patients, training Purdue’s sales
                            force on the revised label, conducting comprehensive education programs
                            for health care professionals, and developing a database for identifying
                            and monitoring abuse and diversion of OxyContin.

                            Under the risk management plan, OxyContin’s label was strengthened,
                            effective in July 2001, by revising the physician prescribing information
                            and adding a black box warning to call attention to OxyContin’s potential


                            51
                              The Kentucky guidelines for the use of controlled substances in pain treatment provide
                            that (1) a complete medical history and examination be conducted and documented in
                            patient medical records, (2) a written treatment plan state objectives for determining
                            treatment success, (3) the risks and benefits of the use of controlled substances be
                            discussed by physician and patient, (4) periodic review of the course of treatment be
                            conducted, (5) consultation or referral to an expert in pain management be considered for
                            patients who are at risk for substance abuse, (6) patient’s medical record be kept accurate
                            and complete, and (7) physicians be in compliance with applicable federal and state
                            controlled substance laws and regulations.
                            52
                             Amended versions of Purdue’s risk management plan for OxyContin were submitted to
                            FDA for review in April 2002 and in March 2003.




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                        for misuse, abuse, and diversion. (See app. II.) Purdue trained its sales
                        force on the specifics of the revised label and provided sales
                        representatives with updated information on the appropriate use of opioid
                        analgesics, legal guidelines associated with promotion of its products, and
                        their responsibility and role in reporting adverse events. Purdue also
                        reiterated to its sales representatives that failure to promote products
                        according to the approved label, promotional materials, and applicable
                        FDA standards would result in disciplinary action by the company.
                        According to Purdue, from April 2001 through May 2003 at least 10 Purdue
                        employees were disciplined for using unapproved materials in promoting
                        OxyContin. Disciplinary actions included warning letters, suspension
                        without pay, and termination.

                        Purdue also has provided education programs for health care
                        professionals and the public under its risk management plan. For example,
                        in 2001 Purdue supported seminars that examined ways health care
                        professionals can help prevent abuse and diversion of opioids. Purdue
                        worked with DEA and other law enforcement agencies to develop and
                        implement antidiversion educational programs. In 2002, Purdue also
                        launched the Web site painfullyobvious.com to educate teenagers, parents,
                        law enforcement officers, and discussion leaders about the dangers of
                        prescription drug abuse.

                        Because reliable data on the abuse and diversion of controlled substance
                        drugs are not available, Purdue developed the Researched Abuse,
                        Diversion, and Addiction-Related Surveillance (RADARS) System, as part
                        of its risk management plan, to study the nature and extent of abuse of
                        OxyContin and other schedule II and III prescription medications and to
                        implement interventions to reduce abuse and diversion.53 According to
                        Purdue, RADARS collects and computes abuse, diversion, and addiction
                        rates for certain drugs based on population and determines national and
                        local trends.

                        Since the launch of OxyContin, Purdue has provided its sales force with
                        considerable information to help target physicians and prioritize sales
                        contacts within a sales territory. Sales representatives routinely receive
                        daily, weekly, monthly, and quarterly physician prescribing reports based



                        53
                          RADARS will collect information on brand-name and generic versions of buprenorphine,
                        fentanyl, hydrocodone, hydromorphone, oxycodone, morphine, and methadone.
                        Benzodiazepine is scheduled to be added to RADARS in late 2003.




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                           on IMS Health data that specify the physicians who have written
                           prescriptions for OxyContin and other opioid analgesics, and the number
                           of prescriptions written. Although this information has always been
                           available for use by Purdue and its sales representatives, it was not until
                           fall 2002 that Purdue directed its sales representatives to begin using 11
                           indicators to identify possible abuse and diversion and to report the
                           incidents to Purdue’s General Counsel’s Office for investigation. Among
                           the possible indicators are a sudden unexplained change in a physician’s
                           prescribing patterns that is not accounted for by changes in patient
                           numbers, information from credible sources such as a pharmacist that a
                           physician or his or her patients are diverting medications, or a physician
                           who writes a large number of prescriptions for patients who pay with
                           cash. As of September 2003, Purdue—through its own investigations—had
                           identified 39 physicians and other health care professionals who were
                           referred to legal, medical, or regulatory authorities for further action. Most
                           of the 39 referrals stemmed from reports by Purdue’s sales force.

                           Other actions included in the plan that were taken by Purdue prior to
                           submission of its risk management plan include discontinuance of the 160-
                           milligram tablet of OxyContin to reduce the risk of overdose from this
                           dosage strength, the development of unique markings for OxyContin
                           tablets intended for distribution in Mexico and Canada to assist law
                           enforcement in identifying OxyContin illegally smuggled into the United
                           States, and the distribution of free tamper-resistant prescription pads
                           designed to prevent altering or copying of the prescription. Purdue also
                           implemented a program in 2001 to attempt to predict “hot spots” where
                           OxyContin abuse and diversion were likely to occur, but discontinued the
                           program in 2002 when Purdue concluded that nearly two-thirds of the
                           counties identified had no abuse and diversion.


                           At present, both federal agencies and the states have responsibilities
Conclusions                involving prescription drugs and their abuse and diversion. FDA is
                           responsible for approving new drugs and ensuring that the materials drug
                           companies use to market and promote these drugs are truthful, balanced,
                           and accurate. However, FDA examines these promotional materials only
                           after they have been used in the marketplace because the FD&C Act
                           generally does not give FDA authority to review these materials before the
                           drug companies use them. Moreover, the FD&C Act provisions governing
                           drug approval and promotional materials make no distinction between
                           controlled substances, such as OxyContin, and other prescription drugs.
                           DEA is responsible for registering handlers of controlled substances,
                           approving production quotas and monitoring distribution of controlled


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                           substances to the retail level. It is the states, however, that are responsible
                           for overseeing the practice of medicine and pharmacy where drugs are
                           prescribed and dispensed. Some states have established prescription drug
                           monitoring programs to help them detect and deter abuse and diversion.
                           However, these programs exist in only 15 states and most do not
                           proactively analyze prescription data to identify individuals, physicians, or
                           pharmacies that have unusual use, prescribing, or dispensing patterns that
                           may suggest potential drug diversion or abuse.

                           The significant growth in the use of OxyContin to treat patients suffering
                           from chronic pain has been accompanied by widespread reports of abuse
                           and diversion that have in some cases led to deaths. The problem of abuse
                           and diversion has highlighted shortcomings at the time of approval in the
                           labeling of schedule II controlled substances, such as OxyContin, and in
                           the plans in place to detect misuse, as well as in the infrastructure for
                           detecting and preventing the abuse and diversion of schedule II controlled
                           substances already on the market.

                           Addressing abuse and diversion problems requires the collaborative
                           efforts of pharmaceutical manufacturers; the federal and state agencies
                           that oversee the approval and use of prescription drugs, particularly
                           controlled substances; the health care providers who prescribe and
                           dispense them; and law enforcement. After the problems with OxyContin
                           began to surface, FDA and Purdue collaborated on a risk management
                           plan to help detect and prevent abuse and diversion. Although risk
                           management plans were not in use when OxyContin was approved, they
                           are now an optional feature of new drug applications. FDA plans to
                           complete its guidance to the pharmaceutical industry on risk management
                           plans by September 30, 2004. The development of this guidance, coupled
                           with FDA’s current review of proposed risk management plans for
                           modified-release opioid analgesics, provides an opportunity to help ensure
                           that manufacturers include a strategy to monitor the use of these drugs
                           and to identify potential problems with abuse and diversion.


                           To improve efforts to prevent or identify the abuse and diversion of
Recommendation for         schedule II controlled substances, we recommend that the Commissioner
Executive Action           of Food and Drugs ensure that FDA’s risk management plan guidance
                           encourages pharmaceutical manufacturers that submit new drug
                           applications for these substances to include plans that contain a strategy
                           for monitoring the use of these drugs and identifying potential abuse and
                           diversion problems.



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                           We provided a draft of this report to FDA, DEA, and Purdue, the
Agency and Purdue          manufacturer of OxyContin, for their review. FDA and DEA provided
Comments and Our           written comments. (See apps. IV and V.) Purdue’s representatives provided
                           oral comments.
Evaluation
                           FDA said that it agreed with our recommendation that its risk
                           management plan guidance should encourage all pharmaceutical
                           manufacturers submitting new drug applications for schedule II controlled
                           substances to include strategies to address abuse and diversion concerns.
                           FDA stated that the agency is working on the risk management plan
                           guidance. FDA also noted that the FD&C Act makes no distinction
                           between controlled substances and other prescription drugs in its
                           provisions regulating promotion, but that as a matter of general policy, the
                           agency more closely scrutinizes promotion of drugs with more serious risk
                           profiles. However, FDA does not have written guidance that specifies that
                           promotional materials for controlled substances receive priority or special
                           attention over similar materials for other prescription drugs. Furthermore,
                           our finding that FDA did not review any of the OxyContin promotional
                           videos provided by Purdue until we brought them to the agency’s attention
                           raises questions about whether FDA provides extra attention to
                           promotional materials for controlled substances that by definition have a
                           high potential for abuse and may lead to severe psychological or physical
                           dependence. FDA recommended that we clarify our description of the
                           content of the warning letter issued to Purdue and provide additional
                           information describing the extent of the corrective action taken by
                           Purdue. FDA also recommended noting in the report that part of the risk
                           management plan in connection with the 2001 labeling changes was a
                           requirement that all OxyContin promotional materials be revised to reflect
                           the labeling changes and all future materials prominently disclose this
                           information. Finally, FDA noted that the promotional videos discussed in
                           the report were submitted by Purdue prior to the labeling change and
                           discontinued as a result of the labeling change. As we note in the report,
                           Purdue acknowledged that all the promotional videos were not submitted
                           to FDA at the time they were distributed. Moreover, although Purdue told
                           us that these videos were no longer distributed after the label change,
                           those videos that had been distributed were not collected and destroyed.
                           We revised the report to reflect FDA’s general comments. FDA also
                           provided technical comments that we incorporated where appropriate.

                           In its written comments, DEA agreed that the data on abuse and diversion
                           are not reliable, comprehensive, or timely, as we reported. DEA reiterated
                           its previous statement that Purdue’s aggressive marketing of OxyContin
                           fueled demand for the drug and exacerbated the drug’s abuse and


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                        diversion. DEA also stated that Purdue minimized the abuse risk
                        associated with OxyContin. We agree with DEA that Purdue conducted an
                        extensive campaign to market and promote OxyContin using an expanded
                        sales force and multiple promotional approaches to encourage physicians,
                        including primary care specialists, to prescribe OxyContin as an initial
                        opioid treatment for noncancer pain, and that these efforts may have
                        contributed to the problems with abuse and diversion by increasing the
                        availability of the drug in the marketplace. However, we also noted that
                        other factors may have contributed to these problems. We also agree that
                        Purdue marketed OxyContin as having a low abuse liability, but we noted
                        that this was based on information in the original label approved by FDA.
                        DEA also acknowledged that the lack of a real measure of legitimate
                        medical need for a specific product (OxyContin), substance (oxycodone),
                        or even a class of substances (controlled release opioid analgesics) makes
                        it difficult to limit manufacturing as a means of deterring abuse and
                        diversion. DEA also noted that it is essential that risk management plans
                        be put in place prior to the introduction of controlled substances into the
                        marketplace, consistent with our recommendation. We revised the report
                        to provide some additional detail on problems associated with OxyContin
                        and Purdue’s marketing efforts. DEA provided some technical comments
                        on the draft report that we incorporated where appropriate.

                        Purdue representatives provided oral comments on a draft of this report.
                        In general, they thought the report was fair and balanced; however, they
                        offered both general and technical comments. Specifically, Purdue stated
                        that the report should add the media as a factor contributing to the abuse
                        and diversion of OxyContin because media stories provided the public
                        with information on how to “get high” from using OxyContin incorrectly.
                        Our report notes that the safety warning on the original label may have
                        inadvertently alerted abusers to a possible method for misusing the drug.
                        However, we note that the original label was publicly available from FDA
                        once OxyContin was approved for marketing. Purdue also suggested that
                        we include Duragesic, also a schedule II opioid analgesic, as a fourth
                        comparable drug to OxyContin. The three comparable drugs we used in
                        the report were chosen in consultation with FDA as comparable opioid
                        analgesics to OxyContin, because they were time-released, morphine-
                        based schedule II drugs formulated as tablets like OxyContin. In contrast,
                        Duragesic, which contains the opioid analgesic fentanyl and provides pain
                        relief over a 72-hour period, is formulated as a skin patch to be worn
                        rather than as a tablet. Purdue representatives also provided technical
                        comments that were incorporated where appropriate.




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                        We also provided sections of this draft report to the manufacturers of
                        three comparative drugs we examined. Two of the three companies with a
                        drug product used as a comparable drug to OxyContin reviewed the
                        portions of the draft report concerning their own product, and provided
                        technical comments, which were incorporated where appropriate. The
                        third company did not respond to our request for comments.


                        As agreed with your offices, unless you publicly announce this report’s
                        contents earlier, we plan no further distribution until 30 days after its issue
                        date. At that time, we will send copies of this report to the Commissioner
                        of Food and Drugs, the Administrator of the Drug Enforcement
                        Administration, Purdue, and the other pharmaceutical companies whose
                        drugs we examined. We will also make copies available to others upon
                        request. In addition, the report will be available at no charge on the GAO
                        Web site at http://www.gao.gov.

                        If you or your staffs have any questions about this report, please call me at
                        (202) 512-7119 or John Hansen at (202) 512-7105. Major contributors to
                        this report were George Bogart, Darryl Joyce, Roseanne Price, and Opal
                        Winebrenner.




                        Marcia Crosse
                        Director, Health Care—Public Health
                         and Military Health Care Issues




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                          Appendix I: Scope and Methodology
Appendix I: Scope and Methodology


                          To identify the strategies and approaches used by Purdue Pharma L.P.
                          (Purdue) to market and promote OxyContin, we interviewed Purdue
                          officials and analyzed company documents and data. Specifically, we
                          interviewed Purdue officials concerning its marketing and promotional
                          strategies for OxyContin, including its targeting of physicians with specific
                          specialties and its sales compensation plan to provide sales
                          representatives with incentives for the drug’s sales. We also interviewed
                          selected Purdue sales representatives who had high and midrange sales
                          during 2001 from Kentucky, Pennsylvania, Virginia, and West Virginia—
                          four states that were initially identified by the Drug Enforcement Agency
                          (DEA) as having a high incidence of OxyContin drug abuse and
                          diversion—and from California, Massachusetts, and New Jersey—three
                          states that DEA did not initially identify as having problems with
                          OxyContin. We asked the sales representatives about their training,
                          promotional strategies and activities, and targeting of physicians. We also
                          interviewed physicians who were among the highest prescribers of
                          OxyContin regarding their experiences with Purdue sales representatives,
                          including the strategies used to promote OxyContin, as well as their
                          experiences with sales representatives of manufacturers of other opioid
                          analgesics. We reviewed Purdue’s quarterly action plans for marketing and
                          promoting OxyContin for 1996 through 2003, Purdue’s sales representative
                          training materials, and materials from ongoing OxyContin-related
                          litigation. To obtain information on how Purdue’s marketing and
                          promotion of OxyContin compared to that of other companies, we
                          identified, in consultation with the Food and Drug Administration (FDA),
                          three opioid analgesics that were similar to OxyContin. The three drugs—
                          Avinza, Kadian, and Oramorph SR—are all time-released, morphine-based
                          analgesics that are classified as schedule II controlled substances. We
                          examined the promotional materials each drug’s manufacturer submitted
                          to FDA and any actions FDA had taken against the manufacturers related
                          to how the drugs were marketed or promoted. We also interviewed
                          company officials about how they marketed and promoted their respective
                          drugs. Because of their concerns about proprietary information, the three
                          companies did not provide us with the same level of detail about their
                          drugs’ marketing and promotion as did Purdue.

                          To examine factors that contributed to the abuse and diversion of
                          OxyContin, we reviewed DEA abuse and diversion data as part of an effort
                          to compare them with DEA’s OxyContin state distribution data and with
                          IMS Health data on the rates of OxyContin sales and prescription
                          dispensing to determine if they occurred in similar geographic areas. We
                          also analyzed the distribution of Purdue sales representatives by state and
                          compared them with the availability of OxyContin and abuse and diversion


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                        Appendix I: Scope and Methodology




                        data to determine whether states with high rates of OxyContin sales and
                        prescription dispensing and abuse and diversion problems had more sales
                        representatives per capita than other states. However, limitations in the
                        abuse and diversion data prevent an assessment of the relationship
                        between the availability of OxyContin and areas where the drug was
                        abused and diverted. We also reviewed the High Intensity Drug Trafficking
                        Area (HIDTA) reports on states with histories of illegal drug activities. We
                        interviewed DEA and FDA officials, physicians who prescribed
                        OxyContin, officials from physician licensing boards in selected states,
                        officials from national health practitioner groups, and company officials
                        and sales representatives about why OxyContin abuse and diversion have
                        occurred.

                        To determine the efforts federal and state agencies and Purdue have made
                        to identify and prevent abuse and diversion of controlled substances such
                        as OxyContin, we interviewed FDA officials and analyzed information
                        from FDA regarding the marketing and promotion of controlled
                        substances, specifically OxyContin; FDA’s decision to approve the original
                        label for OxyContin; and FDA’s subsequent decision to revise OxyContin’s
                        labeling, as well as FDA’s role in monitoring OxyContin’s marketing and
                        advertising activities. We also interviewed DEA officials about the
                        agency’s efforts to identify and prevent abuse and diversion, including its
                        national action plan for OxyContin, and how it determines the prevalence
                        of OxyContin abuse and diversion nationally. We also interviewed officials
                        from national practitioner associations, Medicaid fraud control units, and
                        physician licensing boards in states with initial reports of abuse and
                        diversion—Kentucky, Maryland, Pennsylvania, Virginia, and West
                        Virginia—regarding concerns they had about the abuse and diversion of
                        OxyContin. We reviewed Purdue’s OxyContin risk management plan
                        submissions to FDA from 2001 through 2003 to identify actions taken by
                        Purdue to address abuse and diversion of OxyContin.




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                                            Appendix II: Summary of FDA Changes to the
Appendix II: Summary of FDA Changes to the  Original Approved OxyContin Label



Original Approved OxyContin Label

                                            Table 5 provides a description of the changes made by FDA to sections of
                                            the original OxyContin approved label from June 1996 through July 2001.
                                            These changes included a black box warning, the strongest warning an
                                            FDA-approved drug can carry, and specifically addressed areas of concern
                                            related to the opioid characteristics of oxycodone and its risk of abuse and
                                            diversion.

Table 5: FDA Changes to the Original OxyContin Label Made from June 1996 through July 2001

Summary of FDA changes to original
OxyContin label in 2001                               Language in OxyContin label approved in 2001
Black box warning was added to stress the opioid      “WARNING:
nature of oxycodone and risks for abuse and           OxyContin is an opioid agonist and a Schedule II controlled substance
diversion of the drug.                                with an abuse liability similar to morphine.
                                                      Oxycodone can be abused in a manner similar to other opioid agonists, legal or
                                                      illicit. This should be considered when prescribing or dispensing OxyContin in
                                                      situations where the physician or pharmacist is concerned about an increased
                                                      risk of misuse, abuse, or diversion.
                                                      OxyContin Tablets are a controlled-release oral formulation of oxycodone
                                                      hydrochloride indicated for the management of moderate to severe pain
                                                      when a continuous, around-the-clock analgesic is needed for an extended
                                                      period of time.
                                                      OxyContin Tablets are NOT intended for use as a prn analgesic. OxyContin 80
                                                      mg and 160 mg Tablets ARE FOR USE IN OPIOID-TOLERANT PATIENTS
                                                      ONLY. These tablet strengths may cause fatal respiratory depression
                                                      when administered to patients not previously exposed to opioids.
                                                      OxyContin TABLETS ARE TO BE SWALLOWED WHOLE AND ARE NOT
                                                      TO BE BROKEN, CHEWED, OR CRUSHED. TAKING BROKEN, CHEWED,
                                                      OR CRUSHED OxyContin TABLETS LEADS TO RAPID RELEASE AND
                                                      ABSORPTION OF A POTENTIALLY FATAL DOSE OF OXYCODONE.”
Clinical pharmacology                                 “CLINICAL PHARMACOLOGY
—Provides a pharmacological description of            Oxycodone is a pure agonist opioid whose principal therapeutic action is
oxycodone as a pure opioid agonist whose principal analgesia. Other members of the class known as opioid agonists include
action is analgesia.                                  substances such as morphine, hydromorphone, fentanyl, codeine, and
—Identifies other members of the opioid agonist       hydrocodone. Pharmacological effects of opioid agonists include anxiolysis,
class, such as morphine, hydromorphone, fentanyl, euphoria, feelings of relaxation, respiratory depression, constipation, miosis,
and hydrocodone.                                      and cough suppression, as well as analgesia. Like all pure opioid agonist
                                                      analgesics, with increasing doses there is increasing analgesia, unlike with
—Describes the pharmacological properties of          mixed agonist/antagonists or non-opioid analgesics, where there is a limit to the
opioids in general (anxiolysis, euphoria, feelings of analgesic effect with increasing doses. With pure opioid agonist analgesics,
relaxation, respiratory depression, constipation,     there is no defined maximum dose; the ceiling to analgesic effectiveness is
miosis, cough suppression, and analgesia).            imposed only by side effects, the more serious of which may include
—Describes respiratory depression as one of the       somnolence and respiratory depression.”
most serious side effects of opioids that could lead
to overdose or death.




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                                             Appendix II: Summary of FDA Changes to the
                                             Original Approved OxyContin Label




Summary of FDA changes to original
OxyContin label in 2001                                Language in OxyContin label approved in 2001
Misuse, abuse, and diversion of opioids                “Misuse, Abuse and Diversion of Opioids
A subsection on misuse, abuse and diversion was        Oxycodone is an opioid agonist of the morphine-type. Such drugs are sought by
added to the WARNINGS section of the label.            drug abusers and people with addiction disorders and are subject to criminal
—Characterizes oxycodone as an opioid agonist of       diversion.
the morphine-type and stresses that opioid agonists Oxycodone can be abused in a manner similar to other opioid agonists, legal or
are sought by drug abusers and people with          illicit. This should be considered when prescribing or dispensing OxyContin in
addiction disorders and are subject to diversion.   situations where the physician or pharmacist is concerned about an increased
—Makes clear that oxycodone can be abused in a risk of misuse, abuse, or diversion.
manner similar to other opioid agonists, legal or      OxyContin has been reported as being abused by crushing, chewing, snorting,
illicit, and that physicians and pharmacists should    or injecting the dissolved product. These practices will result in the uncontrolled
be aware of and alert to risk of misuse, abuse, and    delivery of the opioid and pose a significant risk to the abuser that could result
diversion when prescribing or dispensing               in overdose and death (see WARNINGS and DRUG ABUSE AND
oxycodone.                                             ADDICTION).
—Modifies original label statement that iatrogenic     Concerns about abuse, addiction, and diversion should not prevent the proper
addiction (addiction induced inadvertently by a        management of pain. The development of addiction to opioid analgesics in
physician or a physician’s treatment) is rare if       properly managed patients with pain has been reported to be rare. However,
opioids were legitimately used in the management       data are not available to establish the true incidence of addiction in chronic pain
of pain to state that data are not available to        patients.
establish the true incidence of addiction in chronic   Healthcare professionals should contact their State Professional Licensing
patients.                                              Board, or State Controlled Substances Authority for information on how to
                                                       prevent and detect abuse of this product.”




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                                                     Appendix II: Summary of FDA Changes to the
                                                     Original Approved OxyContin Label




 Summary of FDA changes to original
 OxyContin label in 2001                                       Language in OxyContin label approved in 2001
 Drug abuse and addiction                                      “DRUG ABUSE AND ADDICTION
 —Emphasizes that the abuse potential of           OxyContin is a mu-agonist with an abuse liability similar to morphine and
 oxycodone is equivalent to that of morphine.      is a Schedule II controlled substance. Oxycodone, like morphine and
 —Describes the controlled status of OxyContin and other opioids used in analgesia, can be abused and is subject to criminal
 emphasizes that, like morphine and other opioids  diversion.
 used in analgesia, oxycodone can be abused and    Drug addiction is characterized by compulsive use, use for non-medical
 is subject to criminal diversion.                 purposes, and continued use despite harm or risk of harm. Drug addiction is a
 —Stresses proper prescribing practices,           treatable disease, utilizing a multi-disciplinary approach, but relapse is common.
 dispensing, and storage.                                      “Drug-seeking” behavior is very common in addicts and drug abusers. Drug-
 —Deletes statement that delayed absorption of                 seeking tactics include emergency calls or visits near the end of office hours,
 OxyContin was believed to reduce the abuse                    refusal to undergo appropriate examination, testing or referral, repeated “loss”
 liability of the drug.                                        of prescriptions, tampering with prescriptions, and reluctance to provide prior
                                                               medical records or contact information for other treating physician(s). “Doctor
 —Stresses the risks associated with parenteral                shopping” to obtain additional prescriptions is common among drug abusers
 injection of OxyContin and reiterates the original            and people suffering from untreated addiction.
 label’s description of drug addiction and “drug-
 seeking” behaviors commonly in addicts and                    Abuse and addiction are separate and distinct from physical dependence and
 abusers.                                                      tolerance. Physicians should be aware that addiction may not be accompanied
                                                               by concurrent tolerance and symptoms of physical dependence in all addicts. In
                                                               addition, abuse of opioids can occur in the absence of true addiction and is
                                                               characterized by misuse for non-medical purposes, often in combination with
                                                               other psychoactive substances. OxyContin, like other opioids, has been
                                                               diverted for non-medical use. Careful record keeping of prescribing information,
                                                               including quantity, frequency, and renewal requests is strongly advised.
                                                               Proper assessment of the patient, proper prescribing practices, periodic
                                                               reevaluation of therapy, and proper dispensing and storage are appropriate
                                                               measures that help to limit abuse of opioid drugs.
                                                               OxyContin consists of a dual-polymer matrix, intended for oral use only.
                                                               Abuse of the crushed tablet poses a hazard of overdose and death. This
                                                               risk is increased with concurrent abuse of alcohol and other substances.
                                                               With parenteral abuse, the tablet excipients, especially talc, can be
                                                               expected to result in local tissue necrosis, infection, pulmonary
                                                               granulomas, and increased risk of enocarditis and valvular heart injury.
                                                               Parenteral drug abuse is commonly associated with transmission of
                                                               infectious disease such as hepatitis and HIV.”
 Safety and handling                                           “SAFETY AND HANDLING
 —Emphasizes the controlled status of OxyContin.               OxyContin Tablets are solid dosage forms that contain oxycodone which is a
 —Alerts health care professionals that OxyContin              controlled substance. Like morphine, oxycodone is controlled under Schedule II
 could be a target for theft and diversion and                 of the Controlled Substances Act.
 instructs that they should contact their State                OxyContin has been targeted for theft and diversion by criminals. Healthcare
 Professional Licensing Board or State Controlled              professionals should contact their State Professional Licensing Board or State
 Substances Authority for information on how to                Controlled Substances Authority for information on how to prevent and detect
 prevent and detect abuse or diversion of the                  abuse or diversion of this product.”
 product.

Source: FDA-approved label for Purdue’s OxyContin.




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                           Appendix III: Databases Used to Monitor
Appendix III: Databases Used to Monitor
                           Abuse and Diversion of OxyContin and Its
                           Active Ingredient Oxycodone


Abuse and Diversion of OxyContin and Its
Active Ingredient Oxycodone
                           DEA uses several databases to monitor abuse and diversion of controlled
                           substances, including OxyContin and its active ingredient oxycodone.
                           Specifically, the agency monitors three major databases—the Drug Abuse
                           Warning Network (DAWN), the National Forensic Laboratory Information
                           System (NFLIS), and the System to Retrieve Information from Drug
                           Evidence (STRIDE).1 DEA also monitors other data sources to identify
                           trends in OxyContin abuse and diversion, such as the Substance Abuse
                           and Mental Health Services Administration’s (SAMHSA) National Survey
                           on Drug Use and Health, formerly the National Household Survey on Drug
                           Abuse, and the Monitoring the Future Study funded by the National
                           Institute on Drug Abuse.2


                           SAMHSA operates the DAWN system, which estimates national drug-
DAWN Data                  related emergency department visits and provides death counts involving
                           abused drugs. DAWN collects data semiannually on drug abuse from
                           hospital emergency department admission and medical examiner data
                           from 21 metropolitan areas and a limited number of metropolitan medical
                           examiners who agree to voluntarily report medical record samples. The
                           emergency department and medical examiner data generally do not
                           differentiate oxycodone from OxyContin, unless the individual provides
                           the information to the hospital or identifiable tablets are found with the
                           person. Although samples from hospitals outside the 21 metropolitan areas
                           are also available, DAWN is not able to make drug-related emergency
                           department visit or death estimates for rural or suburban areas.


                           NFLIS, a DEA-sponsored project initiated in 1997, collects the results of
NFLIS Data                 state and local forensic laboratories’ analyses of drugs seized as evidence
                           by law enforcement agencies. NFLIS is used to track drug abuse and
                           trafficking involving both controlled and noncontrolled substances and
                           reports results by a drug’s substance, such as oxycodone, and not by its
                           brand name. DEA stated that because new laboratories are being added,


                           1
                            Other databases used by DEA to assess changes in drug abuse and diversion include the
                           Drug Early Warning System, the Drug and Alcohol Services Information System, the
                           Treatment Episode Data Set, the National Survey of Substance Abuse Treatment Services,
                           the Uniform Facility Data Set, the Poison Control Center Data or Toxic Exposure
                           Surveillance System, the Automation of Reports and Consolidated Ordering System, the
                           DEA Theft System, and the DEA Field Reports and Investigative Teletypes.
                           2
                           The National Institute on Drug Abuse is part of the National Institutes of Health within the
                           Department of Health and Human Services.




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                            Appendix III: Databases Used to Monitor
                            Abuse and Diversion of OxyContin and Its
                            Active Ingredient Oxycodone




                            its data should not yet be used for trending purposes. As of March 2003,
                            35 state laboratories and 52 local or municipal laboratories participated in
                            the project.


                            STRIDE, another DEA database, reports the results of chemical evidence
STRIDE Data                 analysis done by DEA laboratories in drug diversion and trafficking cases.
                            Oxycodone data are reported by combining single and combination
                            oxycodone drugs and do not provide specific enough information to
                            distinguish OxyContin cases and exhibits. The database’s lag time, which
                            varies by laboratory, depends on how quickly the findings are entered
                            after the seizure of the drug substance and its analysis.


                            The National Survey on Drug Use and Health, another SAMHSA database,
National Survey on          is used to develop national and state estimates of trends in drug
Drug Use and Health         consumption.3 Prior to 2001, the self-reported survey asked participants if
                            they had illicitly used any drug containing oxycodone. In 2001, the survey
Data                        included a separate section for pain relievers, and asked participants if
                            they had used OxyContin, identifying it by its brand name, that had not
                            been prescribed for them. State samples from the survey are combined to
                            make national- and state-level estimates of drug use, and because the
                            estimated numbers derived for OxyContin are so small, it is not possible to
                            project illicit OxyContin use on a regional, state, or county basis.


                            The Monitoring the Future Survey, funded by the National Institute on
Monitoring the Future       Drug Abuse and conducted by the University of Michigan, annually
Survey Data                 monitors the illicit use of drugs by adolescent students in the 8th, 10th,
                            and 12th grades. The 2002 survey included new questions using the brand
                            names of four drugs, including OxyContin, in its survey on the annual and
                            30-day prevalence of drug use.




                            3
                             Self-reporting individuals are interviewed regarding their illicit drug use over three
                            periods—within the last 30 days, during the past year, and during their lifetime. The survey
                            data are limited, as it is not possible to determine specifically which year respondents may
                            have used a drug illicitly, because they are asked both whether they have ever used the
                            drug illicitly in their lifetime and whether they have used it during the past year.




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                          Appendix IV: Comments from the Food and
Appendix IV: Comments from the Food and
                          Drug Administration



Drug Administration




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                        Appendix IV: Comments from the Food and
                        Drug Administration




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                        Appendix IV: Comments from the Food and
                        Drug Administration




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                          Appendix V: Comments from the Drug
Appendix V: Comments from the Drug
                          Enforcement Administration



Enforcement Administration




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                                   Appendix V: Comments from the Drug
                                   Enforcement Administration




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